                    Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 1 of 189

AO 93 (Rev. 11/13) Search and Seizure Warrant



                                           UNITED STATES DISTRICT COURT
                                                                             for the
                                                                    District of Columbia

                  In the Matter of the Search of                                )
              (Briefly describe the property to be searched                     )      Case: 1: 18-sc-02581
               or identify the person by name and address)                      )      Assigned To: Howell, Beryl A.
          INFORMATION ASSOCIATED WITH THREE                                     )      Assign. Date : 8/3/2018
       ACCOUNTS STORED AT PREMISES CONTROLLED                                   )      Description: Search & Seizure Warrant
            BY MICROSOFT, GOOGLE, AND APPLE                                     )

                                                  SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the           Northern           District of               California
(identify the person or describe the property to be searched and give its location):


      See Attachment E




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

      See Attachment F




        YOU ARE COMMANDED to execute this warrant on or before                   August 15, 2018         (not to exceed 14 days)
      ~ in the daytime 6:00 a.m. to 10:00 p.m. l'J at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to          Hon. Beryl A. Howell, Chief U.S. District Judge
                                                                                                   (United States Magistrate Judge)

     l'J Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     ['J for _ _ days (not to exceed 30)   ['J until, the facts justifying, the later specific date of



Date and time issued:           <7/;1/~/ r ~ z :s:r/A_ ____~~
                                                            .--~
                                                               - "_A_~- - -                       ' . ! u d ge 's signature

City and state:             Washington, DC                                                 Hon. Beryl A. Howell, Chief U.S. District Judge
                                                                                                         Printed name and title
                   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 2 of 189

AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)

                                                                    Return
Case No.:                                Date and time warrant executed:        Copy of warrant and inventory left with:

Inventory made in the presence of:

Inventory of the property taken and name of any person(s) seized:




                                                                Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                      Executing officer's signature



                                                                                         Printed name and title
    Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 3 of 189




                                      ATTACHMENT E

                                   Property to be Searched

       This warrant applies to information associated with the following Apple DSID:




created or maintained between March 14, 2018 and the present, that is stored at premises owned,

maintained, controlled, or operated by Apple, Inc., located at One Apple Park Way, Cupertino,

California 95014.




                                              53
    Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 4 of 189




                                        ATACHMENTF

                                 Particular Things to be Seized

    I.      Files and Accounts to be produced by the Provider:

        To the extent that the information described in Attachment E is within the possession,
custody, or control of Apple, regardless of whether such information is located within or outside
of the United States, including any messages, records, files, logs, or information that have been
deleted but are stilJ available to Apple, or have been preserved pursuant to a request made under
18 U.S.C. § 2703(f), Apple is required to disclose the following information to the government,
in unencrypted form whenever available, for each account or identifier listed in Attachment E:

        a.      All records or other information regarding the identification of the account, to
include full name, physical address, telephone numbers, email addresses (including primary,
alternate, rescue, and notification email addresses, and verification information for each email
address), the date on which the account was created, the length of service, the IP address used to
register the account, account status, associated devices, methods of connecting, and means and
source of payment (including any credit or bank account numbers);

        b.     All records or other information regarding the devices associated with, or used in
connection with, the account (including all current and past trusted or authorized iOS devices
and computers, and any devices used to access Apple services), including serial numbers, Unique
Device Identifiers ("UDID"), Advertising Identifiers ("IDFA"), Global Unique Identifiers
("GUID"), Media Access Control ("MAC") addresses, Integrated Circuit Card ID numbers
("ICCID"), Electronic Serial Numbers ("ESN"), Mobile Electronic Identity Numbers ("MEIN"),
Mobile Equipment Identifiers ("MEID"), Mobile Identification Numbers ("MIN"), Subscriber
Identity Modules ("SIM"), Mobile Subscriber Integrated Services Digital Network Numbers
("MSISDN"), International Mobile Subscriber Identities ("IMSI"), and International Mobile
Station Equipment Identities ("IMEi");

         c.    The contents of all emails associated with the account, including stored or
preserved copies of emails sent to and from the account (including all draft emails and deleted
emails), the source and destination addresses associated with each email, the date and time at
which each email was sent, the size and length of each email, and the true and accurate header
information including the actual IP addresses of the sender and the recipient of the emails, and
all attachments;

        d.      The contents of all instant messages associated with the account, including stored
or preserved copies of instant messages (including iMessages, SMS messages, and MMS
messages) sent to and from the account (including all draft and deleted messages), the source and
destination account or phone number associated with each instant message, the date and time at
which each instant message was sent, the size and length of each instant message, the actual IP
addresses of the sender and the recipient of each instant message, and the media, if any, attached
to each instant message;

                                                54
    Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 5 of 189




        e.     The contents of all files and other records stored on iCloud, including all iOS
device backups, all Apple and third-party app data, all files and other records related to iCloud
Mail, iCloud Photo Sharing, My Photo Stream, iCloud Photo Library, iCloud Drive, iWork
(including Pages, Numbers, Keynote, and Notes), iCloud Tabs and bookmarks, and iCloud
Keychain, and all address books, contact and buddy lists, notes, reminders, calendar entries,
images, videos, voicemails, device settings, and bookmarks;

        f.      All activity, connection, and transactional logs for the account (with associated IP
addresses including source port numbers), including FaceTime call invitation logs, messaging
and query logs (including iMessage, SMS, and MMS messages), mail logs, iCloud logs, iTunes
Store and App Store logs (including purchases, downloads, and updates of Apple and third-party
apps), My Apple ID and iForgot logs, sign-on logs for all Apple services, Game Center logs,
Find My iPhone and Find My Friends logs, logs associated with web-based access of Apple
services (including all associated identifiers), and logs associated with iOS device purchase,
activation, and upgrades;

       g.      All records and information regarding locations where the account or devices
associated with the account were accessed, including all data stored in connection with Location
Services, Find My iPhone, Find My Friends, and Apple Maps;

       h.      All records pertaining to the types of service used;

       i.      All records pertaining to communications between Apple and any person
regarding the account, including contacts with support services and records of actions taken; and

        j.        All files, keys, or other information necessary to decrypt any data produced in an
encrypted form, when available to Apple (including, but not limited to, the keybag.txt and
fileinfolist.txt files).




                                                 55
       Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 6 of 189




II.        Information to be Seized by Law Enforcement Personnel

    Any and all records that relate in any way to the accounts described in Attachment A which
consists of evidence, fruits, or instrumentalities of violations of 18 U.S.C. § 2 (aiding and
abetting), 18 U.S.C. § 3 (accessory after the fact), 18 U.S.C. § 4 (misprision ofa felony), 18
U.S.C. § 371 (conspiracy), 18 U.S.C. § 1001 (false statements), 18 U.S.C. § 1030 (unauthorized
access of a protected computer); 18 U.S.C. §§ 1505 and 1512 (obstruction of justice), 18 U.S.C.
§ 1513 (witness tampering); 18 U.S.C. § 1343 (wire fraud), 18 U.S.C. § 1349 (attempt and
conspiracy to commit wire fraud), and 52 U.S.C. § 30121 (foreign contribution ban), from June
1, 2015 to present, including:

      a. All records, information, documents or tangible materials that relate in any way to
      communications regarding hacking, release of hacked material, communications with
      persons or entities associated with WikiLeaks, including but not limited to Julian Assange, or
      communications regarding disinformation, denial, dissembling or other obfuscation about
      knowledge of, or access to hacked material;

      b. All records, information, documents or tangible materials that relate in any way to
      communications or meetings involving Jerome Corsi,                         Julian Assange,
                                                      Randy Credico, or any individual
      associated with the Trump Campaign;

      c. All images, messages, communications, calendar entries, search terms, "address book"
      entries and contacts, including any and all preparatory steps taken in furtherance of the
      above-listed offenses;

      d. Communication, information, documentation and records relating to who created, used, or
      communicated with the account or identifier concerning the messages identified above,
      including records about their identities and whereabouts;

      e. Evidence of the times the account was used;

      f.   All images, messages and communications regarding wiping software, encryption or
           other methods to avoid detection by law enforcement;

      g. Passwords and encryption keys, and other access information that may be necessary to
         access the account and other associated accounts;

      h. Credit card and other financial information, including but not limited to, bills and
         payment records evidencing ownership of the subject account;

      1.   All existing printouts from original storage which concern the categories identified in
           subsection II.a

                                                   56
                Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 7 of 189
  AO 106 (Rev. 04/10) Application for a Search Warrant



                                        UNITED STATES DISTRICT COURT
                                                                          for the                                            AUG -· 3 2018
                                                                 District of Columbia
                                                                                                                   Clerk, U.S. D1strict & BankruptcJr
                                                                                                                  Courts for t~e District of Golumliia
               In the Matter of the Search of                              )
           (Brie.fly describe 1/,e property lu be searched                 )          Case: 1:18-sc-02581
            or identify lh.e person by nam ond addres~)                    )
INFORMATION ASSOCIATED WITH THREE ACCOUNTS                                            Assigned To : Howell, Beryl A.
STORED AT PREMISES CONTROLLED BY MICROSOFT,                                j          Assign. Date: 8/3/2018
             GOOGLE, AND APPLE              )                                         Description: Search & Seizure Warrant

                                              APPLICATION FOR A SEARCH WARRANT
         I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
 penalty of pe1jllly that I have reason to believe that on the following person or property (identifjl the person or describe the
 properly to be searched and give its location):

 See Attachment E
 located in the     --------
                             Northern              District of                 California
                                                                 - - - - - - - - -- - -
                                                                                                     , there is now concealed (identify the
 person or describe the property to be seized):
  See Attachment F


           The basis for the search under Fed. R. Crim. P. 4I(c) is (check one or more):
                ~ evidence of a crime;
                  ~ contraband, fruits of crime, or other i~ems illegally possessed;
                  ref property designed for use, intended for use, or used in committing a crime;
                  0 a person to be an-ested or a person who is unlawfully restrained.

           The search is related to a violation of:
              Code Section                                                             Offense Description
        18 U.S.C. §§ 1505, 1512, 1513              Obstruction of justice, Witness tampering
        18 u.s.c. §§ 1001, 1030, 371               False Statements, Unauthorized Access of Protected Computer, Conspiracy
        See Affidavit for add'I
           The application is based on these facts:
       See attached Affidavit.


           r/ Continued on the attached sheet.
           0 Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the arta ed sheet.


           Reviewed by AUSA/SAUSA:                                                                  Applicant's signature

           !Aaron Zelinsky {ASC)                                                            Andrew Mitchell, Special Agent, FBI
                                                                                                    Printed name and title

Sworn to before me and signed in my presence.


Date:

City and state: Washington, D.C.                                                     Hon. Beryl A. Howell, Chief U.S. District Judge
                                                                                                    Printed name and title
    Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 8 of 189



                                                                                       AUG - 3 2018
                                                                               Cferk, U.S. Dlstrlci & Bankruptcy
                                                                              Courts for the District of Columbia
                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

IN THE MATTER OF THE SEARCH OF
INFORMATION ASSOCIATED WITH                            Case: 1:18-sc-02581
THREE ACCOUNTS STORED AT                               Assigned Tu : Howell, Beryl A.
PREMISES CONTROLLED BY                                 Assign. Date : 8/3/2018
MICROSOFT, GOOGLE, AND APPLE                           Description: Search & Seizure Warrant

                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, Andrew Mitchell, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application for a search warrant for

information associated with the following:

       a. The email account                            (hereafter "Target Account 1), that is

stored at premises owned, maintained, controlled, or operated by Microsoft, Inc., a business with

offices located at One Microsoft Way, Redmond, Washington, 98052. The information to be

disclosed by Microsoft and searched by the government is described in the following paragraphs

and in Attachments A and B.

       b. The email account                          (hereafter "Target Account 2"), that is

stored at premises owned, maintained, controlled, or operated by Google, Inc., a business with

offices located at 1600 Amphitheatre Parkway, Mountain View, California, 94043. The

information to be disclosed by Google and searched by the government is described in the

following paragraphs and in Attachments C and D.

       c. The iCloud account                          associated with the Apple ~mail account

                        (hereafter "Target Account 3"), that is stored at premises owned,
    Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 9 of 189




maintained, controlled, or operated by Apple, Inc., a business with offices located at I Infinite

Loop, Cupe1iino, California 95014. The information to be disclosed by Apple and searched by

the government is described in the following paragraphs and in Attachment E and F.

        2.       I, Andrew Mitchell, am a Special Agent with the Federal Bureau of Investigation

(FBI), and have been since 2011. As a Special Agent of the FBI, I have received training and

experience in investigating criminal and national security matters.

       3.        The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

       4.        Based on my training and experience and the facts as set forth in this affidavit,

there is probable cause to believe that the Target Accounts contain communications relevant to

18 U.S.C. § 2 (aiding and abetting), 18 U.S.C. § 3 (accessory after the fact), 18 U.S.C. § 4

(misprision of a felony), 18 U.S.C. § 371 (conspiracy), 18 U.S.C. § 1001 (false statements), 18

U.S.C. § 1030 (unauthorized access of a protected computer); 18 U.S.C. §§ 1505 and 1512

(obstruction of justice), 18 U.S.C. § 1513 (witness tampering); 18 U.S.C. § 1343 (wire fraud), 18

U.S.C. § 1349 (attempt and conspiracy to commit wire fraud), and 52 U.S.C. § 30121 (foreign

contribution ban) (the "Subject Offenses").

       5.        On September 11, 2017, Chief Judge Beryl A. Howell of the District of Columbia

issued a search warrant for Roger STONE's Hotmail address,                                 (Target

Account 1). On October 17, 2017, Chief Judge Howell issued a search warrant for STONE's

Gmail address,                           (Target Account 2). On or about March 14, 2018, Chief

Judge Howell issued a search warrant for STONE's iCloud account (Target Account 3). This

                                                   2
    Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 10 of 189




warrant seeks to search those accounts from the date each respective warrant was issued to the

present.

                                          JURISDICTION

        6.     This Court has jurisdiction to issue the requested warrant because it is "a court of

competentjurisdiction" as defined by 18 U.S.C. § 2711. Id.§§ 2703(a), (b)(l)(A), & (c)(l)(A).

Specifically, the Court is "a district court of the United States (including a magistrate judge of

such a court) ... that has jurisdiction over the offense being investigated." 18 U.S.C.

§ 2711(3)(A)(i). The offense conduct included activities in Washington, D.C., as detailed below,

including in paragraphs 14, 19, and 61.

                                           SUMMARY

       7.      This application seeks authority to search, from the date of search warrants

previously issued by the Court to the present, three accounts believed to be used by Roger

STONE: Target Account 1, which is STONE's                  account; Target Account 2, which is

STONE's          account; and Target Account 3, which is STONE's iCloud account. As set

forth herein, there is probable cause to believe that each of the Subject Accounts contains

evidence of the Subject Offenses, including ongoing efforts to obstruct justice, tamper with

witnesses, and make false statements.

       8.      For example, as set forth in more detail below, in recent months STONE has

reached out to communicate with multiple witnesses he knew or had reason to believe were

scheduled to testify before Congress about interactions with STONE during the 2016 presidential

campaign or were scheduled to meet with the Special Counsel's Office

                                           . After STONE learned that one witness, Randy

CREDICO, was prepared to contradict STONE's congressional testimony, STONE repeatedly

                                                 3
    Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 11 of 189




urged CREDICO to assert the Fifth Amendment and decline to answer questions, and did so

through multiple text messages. In June 2018, STONE instructed his private investigator to

provide him with a full background investigation on another witness,                      who had

done information technology work for STONE during the campaign



        9.      In September 2017, STONE released a statement he said he provided to Congress

in which he denied having advance knowledge of "the source or actual content of the Wikileaks

disclosures regarding Hillary Clinton." He also stated publicly that when he tweeted during the

campaign, on August 21, 2016, "it will soon the Podesta's time in the barrel," he was not

referring to the hacking or publication of John Podesta's emails, but rather to "Podesta's business

dealings with Russia." Evidence obtained in the investigation, however, shows the following:

               a.      On or about July 25, 2016, Roger STONE emailed Jerome CORSI to "Get

to Assange" at the Ecuadorian Embassy and "get pending WikiLeaks emails[.]" Julian

ASSANGE is the founder ofWikiLeaks. On or about July 31, 2016, STONE also instructed

CORSI to have                           contact ASSANGE. On or about August 2, 2016, CORSI

responded to STONE that the "[w]ord is friend in embassy plans 2 more dumps. One shortly

after I'm back. 2nd in Oct. Impact planned to be very damaging .... Time to let more than

Podesta to be exposed as in bed w enemy if they are not ready to drop HRC." After receipt of

that message, on or about August 21, 2016, using @RogerJStoneJR, STONE tweeted: "Trust me,

it will soon the Podesta's time in the barrel. #CrookedHillary."

               b.     Information disclosures subsequently occurred on or about the times

CORSI predicted: On or about August 12, 2016, the day CORSI was scheduled to return to the

United States ("shortly after I'm back"), Guccifer 2.0 released hacked information related to the

                                                 4
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 12 of 189




Democratic Congressional Campaign Committee (DCCC). On or about October 7, 2016, the day

the Washington Post published a breaking story about an Access Hollywood videotape of then-

candidate Trump making disparaging remarks about women, WikiLeaks released emails hacked

from the account of John Podesta.

               c.      Furthermore, on the day of the Access Hollywood video disclosure, there

were phone calls between STONE and CORSI after the Washington Post contacted STONE

prior to publication. At approximately 11 :OOAM, the Washington Post received a tip regarding

the Access Hollywood video. Approximately one hour later, shortly before noon, STONE

received a call from the Washington Post. Approximately ninety minutes later, before 2:00PM,

STONE called CORSI and they spoke. Approximately forty minutes later, CORSI called

STONE and the two spoke again at length. At approximately 4:00PM, the Washington Post

published its story regarding the Access Hollywood tape. By approximately 4:30PM, WikiLeaks

tweeted out its first release of emails hacked from John Podesta.




                                                5
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 13 of 189




                                      PROBABLE CAUSE.

    A. Background on Relevant Individuals

                   i.   Roger STONE

        10.    Roger STONE is a self-employed political strategist/consultant and has been

actively involved in U.S. politics for decades. STONE worked on the presidential campaign of

Donald J. Trump (the "Campaign") until August 2015. Although Stone had no official

relationship with the Campaign thereafter, STONE maintained his support for Trump and

continued to make media appearances in support of the Campaign. As described further below,

STONE also maintained contact with individuals employed by the Campaign, including then-

campaign chairman Paul MANAFORT and deputy chairman Rick GATES.

                  ii. Jerome CORSI

       11.    Jerome CORSI is a political commentator who, according to publicly available

information, currently serves as the "Washington Bureau Chief for Inforwars.com." According

to publicly-available sources, from 2014 until January 2017, CORSI was a "senior staff reporter"

for the website "World Net Daily" a/k/a "WND.com." CORSI has also written a number of

books regarding Democratic presidential candidates. As described further below, CORSI was in

contact with STONE during the summer and fall of2016 regarding forthcoming disclosures of

hacked information by WikiLeaks, and appears to have obtained information regarding

upcoming disclosures which he relayed to STONE.




                                               6
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 14 of 189




   B. U.S. Intelligence Community Assessment of Russian Government-Backed Hacking
      Activity during the 2016 Presidential Election

        13.    On October 7, 2016, the U.S. Department of Homeland Security and the Office of

the Director of National Intelligence released a joint statement of an intelligence assessment of

Russian activities and intentions during the 2016 presidential election. In the report, the USIC

assessed the following:

               a.     The U.S. Intelligence Community ("USIC") is confident that the Russian

Government directed the recent compromises of emails from US persons and institutions,

including from US political organizations. The recent disclosures of alleged hacked emails on

sites like DCLeaks.com and WikiLeaks and by the Guccifer 2.0 online persona are consistent

with the methods and motivations of Russian-directed efforts. These thefts and disclosures were


                                                 7
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 15 of 189




intended to interfere with the U.S. election process. Such activity is not new to Moscow-the

Russians have used similar tactics and techniques across Europe and Eurasia, for example, to .

influence public opinion there. We believe, based on the scope and sensitivity of these efforts,

that only Russia's senior-most officials could have authorized these activities.

        14.     On January 6, 2017, the USIC released a declassified version of an intelligence

assessment of Russian activities and intentions during the 2016 presidential election entitled,

"Assessing Russian Activities and Intentions in Recent US Elections." In the report, the USIC

assessed the following:

               a.      "Russian President Vladimir Putin ordered an influence campaign in 2016

aimed at the US presidential election. Russia's goals were to undermine public faith in the US

democratic process, denigrate [former] Secretary [of State Hillary] Clinton, and harm her

electability and potential presidency. We further assess Putin and the Russian Government

developed a clear preference for President-elect Trump."

               b. ·    The USIC also described, at a high level, some of the techniques that the

Russian government employed during its interference. The USIC summarized the efforts as a

"Russian messaging strategy that blends covert intelligence operations-such as cyber activity-

with overt efforts by Russian Government agencies, state-funded media, third-party

intermediaries, and paid social media users or 'trolls."'

               c.      With respect to "cyber activity," the USIC assessed that "Russia's

intelligence services conducted cyber operations against targets associated with the 2016 US

presidential election, including targets associated with both major US political parties." Further,

"[i]n July 2015, Russian intelligence gained access to Democratic National Committee (DNC)

networks and maintained that access until at least June 2016." The USIC attributed these cyber

                                                  8
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 16 of 189




activities to the Russian GRU, also known as the Main Intelligence Directorate: "GRU

operations resulted in the compromise of the personal e-mail accounts of Democratic Party

officials and political figures. By May, the GRU had exfiltrated large volumes of data from the

DNC." The GRU is the foreign military intelligence agency of the Russian Ministry of Defense,

and is Russia's largest foreign intelligence agency.

                  d.     With respect to the release of stolen materials, the USIC assessed "with

high confidence that the GRU used the Guccifer 2.0 persona, DCLeaks.com, and WikiLeaks to

release US victim data obtained in cyber operations publicly and in exclusives to media outlets."

                  e.     Guccifer 2.0, who claimed to be an independent Romanian hacker, made

multiple contradictory statements and false claims about his identity throughout the election.

    C. Additional Hacking Activity by Individuals Associated with the GRU

       15.        The Special Counsel's Office has determined that individuals associated with the

GRU continued to engage in hacking activity related to the 2016 campaign through at least

November 1, 2016.

       16.        For example, in or around September 2016, these individuals successfully gained

access to DNC computers housed on a third-party cloud-computing service. In or around late

September, these individuals stole data from these cloud-based computers by creating backups of

the DNC's cloud-based systems using the cloud provider's own technology. The individuals

used three new accounts with the same cloud computing service to move the "snapshots" to

those accounts.

       17.        On or about September 4, 2016, individuals associated with the GRU stole the

emails from a former White House advisor who was then advising the Clinton Campaign. These

emails were later posted on DCLeaks.

                                                  9
    Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 17 of 189




          18.      On or about November 1, 2016, individuals associated with the GRU

spearphished over 100 accounts used by organizations and personnel involved in administering

elections in numerous Florida counties.

          19.      On or about July 13, 2018, a grand jury in this District indicted eleven GRU

officers for knowingly and intentionally conspiring to hack into the computers of U.S. persons

and entities involved in the 2016 U.S. presidential election, steal documents from those

computers, and stage releases of stolen documents in order to interfere with the election. The

victims of the hacking and releases included the DNC, the Democratic Congressional Campaign

Committee ("DCCC"), and the chairman of the Clinton campaign (John Podesta). See United

States v. Viktor Borisovich Netyksho, et al. (I: 18-cr-215) (D.D.C.). 1

    D. Roger STONE's Public Interactions with Guccifer 2.0 and WikiLeaks

         20.      On June 14, 2016, Crowdstrike, the forensic firm that sought to remediate an

unauthorized intrusion into the computer systems of the DNC, publicly attributed the hack to

Russian government actors. The media reported on the announcement. On June 15, 2016, the

persona Guccifer 2.0 appeared and publicly claimed responsibility for the DNC hack. It stated

on its WordPress blog that, with respect to the documents stolen from the DNC, "[t]he main part

of the papers, thousands of files and mails, I gave to Wikileaks. They will publish them soon."

In that post, Guccifer 2.0 also began releasing hacked DNC documents.

         21.      On July 22, 2016, WikiLeaks published approximately 20,000 emails stolen from

the DNC.



1A twelfth defendant was charged with conspiring to infiltrate computers of organizations responsible for
administering elections, including state boards of election, secretaries of state, and companies that supply software
and other technology used to administer elections.

                                                          10
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 18 of 189




        22.    On August 5, 2016, STONE published an article on Breitbart.com entitled, "Dear

Hillary: DNC Hack Solved, So Now Stop Blaming Russia." The article stated: "It doesn't seem

to be the Russians that hacked the DNC, but instead a hacker who goes by the name of Guccifer

2.0." The article contained embedded publicly available Tweets from Guccifer 2.0 in the article

and stated: "Here's Guccifer 2.0's website. Have a look and you'll see he explains who he is and

why he did the hack of the DNC." The article also stated: "Guccifer 2.0 made a fateful and wise

decision. He went to WikiLeaks with the DNC files and the rest is history. Now the world

would see for themselves how the Democrats had rigged the game."

       23.     On August 8, 2016, STONE addressed the Southwest Broward Republican

Organization. During his speech, he was asked about a statement by ASSANGE to Russia

Today (RT) several days earlier about an upcoming "October Surprise" aimed at the Hillary

Clinton presidential campaign. Specifically, STONE was asked: "With regard to the October

surprise, what would be your forecast on that given what Julian Assange has intimated he's

going to do?" STONE responded: "Well, it could be any number of things. I actually have

communicated with Assange. I believe the next tranche of his documents pertain to the Clinton

Foundation but there's no telling what the October surprise may be." A few days later, STONE

clarified that while he was not personally in touch with ASSANGE, he had a close friend who

served as an intermediary.

       24.     On August 12, 2016, Gucci fer 2.0 publicly tweeted: "@RogerJStoneJr thanks that

u believe in the real #Guccifer2." That same day, Guccifer 2.0 released the personal cellphone

numbers and email addresses from the files of the DCCC.

       25.    On August 13, 2016, Stone posted a tweet using @RogerJStoneJr calling Guccifer

2.0 a "HERO" after Guccifer 2.0 had been banned from Twitter. The next day, Guccifer 2.0's

                                               11
    Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 19 of 189




Twitter account was reinstated.

        26.     On August 17, 2016, Guccifer 2.0 publicly tweeted, "@RogerJStoneJr paying you

back." Guccifer also sent a private message to @RogerJStoneJr stating "i'm pleased to say u r

great man. please tell me if I can help u anyhow. it would be a great pleasure to me."

        27.     On August 18, 2016, Paul Manafort, STONE's longtime friend and associate,

resigned as Chairman of the Trump Campaign.

        28.     As noted above, on August 21, 2016, using@RogerJStoneJR, STONE tweeted:

"Trust me, it will soon the [sic] Podesta's time in the barrel. #CrookedHillary." In a C-SPAN

interview that same day, STONE reiterated that because of the work of a "'mutual acquaintance'

of both his and [ASSANGE], the public [could] expect to see much more from the exiled

whistleblower in the form of strategically-dumped Clinton email batches." He added: "Well,

first of all, I think Julian Assange is a hero ... I think he's taking on the deep state, both

Republican and Democrat. I believe that he is in possession of all of those emails that Huma

Abedin and Cheryl Mills, the Clinton aides, believe they deleted. That and a lot more. These are

like the Watergate tapes."

       29.      On September 16, 2016, STONE said in a radio interview with Boston Herald

Radio that he expected WikiLeaks to "drop a payload of new documents on Hillary on a wee~ly

basis fairly soon. And that of course will answer the question as to what exactly what was erased

on that email server."

       30.     On Saturday, October 1, 2016, using@RogerJStoneJr, STONE tweeted,

"Wednesday @ HillaryClinton is done. #WikiLeaks."

       31.     On Sunday, October 2, 2016, MSNBC Morning Joe producer Jesse Rodriquez

tweeted regarding an announcement AS SAN GE had scheduled for the next day from the balcony

                                                   12
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 20 of 189




of the Ecuadoran Embassy in London. On the day of the ASSANGE announcement- which was

part of WikiLeaks' I 0-year anniversary celebration - STONE told Infowars that his intermediary

described this release as the "mother load." On October 5, 2016, STONE used@RogerJStoneJr

to tweet: "Payload coming. #Lockthemup."

        32.    On Friday, October 7, 2016, at approximately 4:03 PM, the Washington Post

published an article containing a recorded conversation from a 2005 Access Hollywood shoot in

which Mr. Trump had made a series of lewd remarks.

        33.    Approximately a half hour later, at 4:32 PM, WikiLeaks sent a Tweet reading

"RELEASE: The Podesta Emails #HillaryClinton #Podesta #im WithHer" and containing a link

to approximately 2,050 emails that had been hacked from John Podesta's personal email account.

       34.     WikiLeaks continued to release John Podesta's hacked emails through Election

Day, November 8, 2016. On October 12, 2016, Podesta- referring back to STONE's August 21,

2016 C-SPAN and Twitter references - argued publicly that "[it is] a reasonable assumption to -

or at least a reasonable conclusion - that [STONE] had advanced warning [of the release of his

emails] and the Trump campaign had advanced warning about what Assange was going to do. I

think there's at least a reasonable belief that [Assange] may have passed this information on to

[STONE]." Commenting to the NBC News, STONE indicated that he had never met or spoken

with Assange, saying that "we have a mutual friend who's traveled to London several times, and

everything I know is through that channel of communications. I'm not implying I have any

influence with him or that I have advanced knowledge of the specifics of what he is going to do.

I do believe he has all of the e-mails that Huma Abedin and Cheryl Mills, the Clinton aides,

thought were deleted. I hear that through my emissary."

       35.     On March 27, 2017, CNN reported that a representative of WikiLeaks, writing

                                                13
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 21 of 189




from an email address associated with WikiLeaks, denied that there was any backchannel

communication during the Campaign between STONE and WikiLeaks. The same article quoted

STONE as stating: "Since I never communicated with WikiLeaks, I guess I must be innocent of

charges I knew about the hacking of Podesta's email (speculation and conjecture) and the timing

or scope of their subsequent disclosures. So I am clairvoyant or just a good guesser because the

limited things I did predict (Oct disclosures) all came true."

    E. STONE's Private Twitter Direct Messages with WikiLeaks and ASSANGE

       36.     On August 7, 2017, Chief Judge Beryl A. Howell issued a search warrant for the

Twitter account @RogerJStoneJr. Information recovered from the search of that account

includes the following:

               a.      On October 13, 2016, while WikiLeaks was in the midst of releasing the

hacked Podesta emails, @RogerJStoneJr sent a private direct message to the Twitter account

@wikileaks. Thi~ account is the official Twitter account of WikiLeaks and has been described as

such by numerous news reports. The message read: "Since I was all over national TV, cable and

print defending WikiLeaks and assange against the claim that you are Russian agents and

debunking the false charges of sexual assault as trumped up bs you may want to rexamine the

strategy of attacking me- cordially R."

               b.      Less than an hour later, @wikileaks responded by direct message: "We

appreciate that. However, the false claims of association are being used by the democrats to

undermine the impact of our publications. Don't go there if you don't want us to correct you."

               c.      On or about October 15, 2016, @RogerJStoneJr sent a direct message to

@wikileaks: "Ha! The more you \"c01Tect\" me the more people think you're lying. Your

operation leaks like a sieve. You need to figure out who your friends are."

                                                 14
    Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 22 of 189




                d.     On or about November 9, 2016, one day after the presidential election,

@wikileaks sent a direct message to @RogerJStoneJr containing a single word: "Happy?"

@wikileaks immediately followed up with another message less than a minute later: "We are

now more free to communicate."

               e.      In addition, @RogerJStoneJr also exchanged direct messages with

ASSANGE. For example, on June 4, 2017, @RogerJStoneJr directly messaged

@JulianAssange, an address associated with ASSANGE in numerous public reports, stating:

"Still nonsense. As a journalist it doesn't matter where you get information only that it is

accurate and authentic. The New York Times printed the Pentagon Papers which were

indisputably stolen from the government and the courts ruled it was legal to do so and refused to

issue an order restraining the paper from publishing additional articles. If the US government

moves on you I will bring down the entire house of cards. With the trumped-up sexual assault

charges dropped I don't know of any crime you need to be pardoned for - best regards. R." That

same day, @JulianAssange responded: "Between CIA and DoJ they're doing quite a lot. On the

DoJ side that's coming most strongly from those obsessed with taking down Trump trying to

squeeze us into a deal."

               f.      On Saturday, June 10, 2017, @RogerJStoneJr sent a direct message to

@JulianAssange, reading: "I am doing everything possible to address the issues at the highest

level of Government. Fed treatment of you and WikiLeaks is an outrage. Must be circumspect in

this forum as experience demonstrates it is monitored. Best regards R."




                                                15
    Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 23 of 189




    F. STONE's Communications with STONE,                            and Others Regarding
       Forthcoming Leaks

        37.     As indicated above, on September 11, 2017, Chief Judge Howell issued a search

warrant for STONE's             address,                           (Target Account 1); on

October 17, 2017, Chief Judge Howell issued a search warrant for STONE's            address,

                        (Target Account 2); and on or about March 14, 2018, Chief Judge

Howell issued a search warrant for STONE's iCloud account (Target Account 3). In addition,

on or about December 19, 2017, Chief Judge Howell issued a search warrant for

email account. Information recovered pursuant to those search warrants includes the following:

               a.      On or about May 15, 2016,                 emailed CORSI: "Here is my

flight schedule. Need to get something confirmed now .... " CORSI responded, "I copied

Roger Stone so he knows your availability to meet Manafort and DT this coming week." CORSI

appears to have forwarded the message to STONE at Target Account 1, who replied to CORSI

that, "May meet Manafort -guarantee nothing."

               b.      On or about May 18, 2016, CORSI emailed STONE at Target Account 1

with the title, "Roger -- why don't you look this over before I send it           I believe that

                                                                                 CORSI wrote,

                        and I did manage to see Mr. Trump for a few minutes today as we were

waiting in Trump Tower to say hello to Mike Cohen. Mr. Trump recognized us immediately and

was very cordial. He would look for this memo from you this afternoon."

               c.      On July 25, 2016, STONE, using Target Account 1, sent an email to

CORSI with the subject line, "Get to Assange." The body of the message read: "Get to Assange




                                                 16
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 24 of 189




 [a]t Ecuadorian Embassy in London and get the pending WikiLeaks emails ... they deal with

Foundation, allegedly."

                d.      On or about July 31, 2016, STONE, using Target Account 1, emailed

CORSI with the subject line, "Call me MON." The body of the email read:                 ,should see

Assange[.]            should find Bernie [SJ anders brother who called Bill a Rapist - turn him for

Trump[.]             should find                  or more proof of Bill getting kicked out."

               e.       As noted above, on or about August 2, 2016 (approximately 19 days

before STONE publicly tweeted about "Podesta's time in the barrel"), CORSI emailed STONE

at Target Account 1: "Word is friend in embassy plans 2 more dumps. One shottly after I'm

back. 2nd in Oct. Impact planned to be very damaging." The email continued: "Signs are Fox

will have me on mid-Aug. more post Ailes shakeup underway. Expect Shine to surface victor,

for now. Post-DNC bump for HRC an artifact of rigged polling. Won't last. I expect

presidential campaign to get serious starting Sept. Still in pre-season games. Time to let more

than Podesta to be exposed as in bed w enemy if they are not ready to drop HRC. That appears

to be the game hackers are now about. Would not hurt to start suggesting HRC old, memory

bad, has stroke -- neither he nor she well. I expect that much of next dump focus, setting stage

for Foundation debacle." Investigators believe that CORSI's reference to a "friend in embassy

[who] plans 2 more dumps" refers to ASSANGE, who resided in Ecuador's London Embassy in

2016.

               f.      On or about August 5, 2016,                   , an associate of STONE's,

emailed Stone at Target Account 1. The email contained a link to a poll indicating that Clinton

led Trump by 15 points. STONE responded, "enjoy it while u can[.] I dined with my new pal

Julian Assange last night."              subsequently stated to investigators that, around the

                                                17
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 25 of 189




same time, STONE told him he had gone to London to meet ASSANGE.                        also stated

that in 2018                told STONE he would be interviewed by the FBI and would have to

divulge the conversation about meeting AS SAN GE. STONE tol                      he was joking and

had not actually met ASSANGE. 2

                g.     On or about August 15, 2016, CORSI emailed STONE at Target Account

1: "Give me a call today if you can. Despite MSM drumroll that HRC is already elected, it's not

over yet. More to come than anyone realizes. Won't really get started until after Labor Day. I'm

in NYC this week. Jerry."

               h.      On or about August 31, 2016, CORSI emailed STONE at Target Account

1: "Did you get the PODESTA writeup." STONE replied "[y]es."

               1.     On or about August 31, 2016, CORSI messaged STONE at Target

Account 3, "Podesta paid $I 80k to invest in Uranium One - was hired by Rosatom in Giustra

scandal. Podesta now under FBI investigation - tied to Ukraine Yanukovych - Panama papers

reveals Podesta hired by S[b]erbank, Russia's largest financial institution - Podesta$$$ ties to

Russia undermine Clinton false narrative attempting to tie Trump to Putin."

               J.     On or about September 6, 2016, CORSI emailed STONE at Target

Account 1: "Roger[,] Is NY Post going to ~se the Pedesta [sic] stuff?"

               k.     On or about September 24, 2016,                 emailed CORSI, "I will

have much more on Turkey. Need a back channel highly sensitive stuff." CORSI responded,




                                                18
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 26 of 189




"We have secure back channel through Roger. I saw him again in NYC last Friday and spoke to

him about it again today."                wrote back, "Awaiting secret file. Explosive ... Hope you

are well. Can't wait for the debate. Channeling Reagan, I hope!" CORSI responded, "Keep me

posted about file[.]" In a subsequent meeting with investigators,                indicated this

conversation concerned possible derogatory information he was trying to obtain from Turkey.

                I.     On or about October 3, 2016, an associate of STONE emailed STONE at

Target Account 2 and asked: "Assange - what's he got? Hope it's good." STONE wrote back,

"It is. I'd tell Bannon but he doesn't call me back. My book on the TRUMP campaign will be

out in Jan. Many scores will be settled." The associate forwarded the email to Steve BANNON,

who was CEO of the Campaign at the time, and wrote: "You should call Roger. See below. You

didn't get from me." BANNON wrote back, "I've got important stuff to worry about." The

associate responded, "Well clearly he knows what Assange has. I'd say that's important."

               m.      On or about October 4, 2016, ASSANGE gave a press conference at the

Ecuadorian Embassy. There had been speculation in the press leading up to that event that

ASSANGE would release information damaging to then-candidate Clinton, but WikiLeaks did

not make any new releases. Instead, ASSANGE promised more documents, including

information "affecting three powerful organizations in three different states, as well as, of course,

information previously referred to about the U.S. election process." ASSANGE also stated that

WikiLeaks would publish documents on various subjects every week for the next ten weeks, and

vowed that the U.S. election-related documents would all come out before Election Day.

               n.      On or about October 4, 2016, CORSI messaged STONE at Target

Account 3, "Assange made a fool of himself. Has nothing or he would have released it. Total

BS hype."

                                                 19
      Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 27 of 189




                  o.      That same day, BANNON emailed STONE at Target Account 2, "What

    was that this morning???" STONE replied, "Fear. Serious security concern. He thinks they are

going to kill him and the London police are standing done [sic]." BANNON wrote back, "He

didn't cut deal w/ clintons???" STONE replied, "Don't think so BUT his lawyer                            is a

big democrat."

                  p.      When BANNON spoke with investigators during a voluntary interview on

February 14, 2018, he initially denied knowing whether the October 4, 2016 email to STONE

was about WikiLeaks. Upon further questioning, BANNON acknowledged that he was asking

STONE about WikiLeaks, because he had heard that STONE had a channel to ASSANGE, and

BANNON had been hoping for releases of damaging information that morning.

       G. STONE and CORSI Communications on October 7, 2016, when the Podesta Emails
          Are Released

          38.     According to a publicly available news article, 3 at approximately 11AM on

Friday, October 7, 2016, Washington Pos.t reporter David Fahrenthold received a phone call from

a source regarding a previously unaired video of candidate Trump. According to the same

article, "Fahrenthold didn't hesitate. Within a few moments of watching an outtake of footage

from a 2005 segment on 'Access Hollywood,' the Washington Post reporter was on the phone,

calling Trump's campaign, 'Access Hollywood' and NBC for reaction."

          39.    According to phone records                                               at approximately

11 :27 AM, CORSI placed a call to STONE which STONE did not answer.




3
 https://www.washingtonpost.com/lifestyle/style/the-cal\er-had-a-lewd-tape-of-donald-trump-then-the-race-was-
on/2016/10/07/31 d74714-8ce5-l le6-875e-2c 1bfe943b66_story.html

                                                       20
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 28 of 189




        40.    At approximately 11 :53AM, STONE received a phone call from the Washington

Post. The call lasted approximately twenty minutes.

        41.    At approximately 1:42PM, STONE called CORSI and the two spoke for

approximately seventeen minutes.

       42.     At approximately 2: 18PM, CORSI called STONE and the two spoke for

approximately twenty minutes.

       43.     At approximately 4:00PM, the Washington Post published a story regarding the

Access Hollywood tape.

       44.     At approximately 4:30PM, WikiLeaks tweeted out its first release of emails

hacked from John Podesta that focused primarily on materials related to the Clinton Foundation.

On or about August 2, 2016, CORSI emailed STONE on Target Account 1, "I expect that much

of next dump focus, setting stage for Foundation debacle."

       45.     At approximately 6:27PM,                      an author who has written about the

Clinton Foundation, and who, according to emails and phone records, regularly communicates

with STONE, sent STONE an email titled, "WikiLeaks - The Podesta Emails," with a link to the .

newly-released Podesta emails. Approximately ten minutes later, STONE, using Target

Account 2, forwarded             message to CORSI without comment. STONE does not appear

to have forwarded the email to any other individual.


   H. STONE Asks CORSI for "SOMETHING" to Post About Podesta After STONE Is
      Accused of Advance Knowledge of the Leak

       46.     On or about October 8, 2016, STONE, using Target Account 3, messaged

CORSI, "Lunch postponed-have to go see T." CORSI responded to STONE, "Ok. I

understand." Approximately twenty minutes later, CORSI texted, "Clintons know they will lose

                                               21
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 29 of 189




a week of Paula Jones media with T attacking Foundation, using Wikileaks Goldman Sachs

speech comments, attacking badjob numbers."

        47.    On or about Wednesday, October 12, 2016, at approximately 8:17AM, STONE,

using Target Account 2, emailed Corsi asking him to "send me your best podesta links."

STONE emailed CORSI at approximately 8:44AM, "need your BEST podesta pieces." CORSI

wrote back at approximately 8:54AM, "Ok. Monday. The remaining stuff on Podesta is

complicated. Two articles in length. I can give you in raw form the stuff I got in Russian

translated but to write it up so it's easy to understand will take weekend. Your choice?"

       48.     On or about that same day, October 12, 2016, Podesta accused STONE of having

advance knowledge of the publication of his emails, as noted above. At approximately 3:25PM,

CORSI emailed STONE at both Target Account 1 and 2 with the subject line "Podesta talking

points." Attached to the email was a file labeled, "ROGER STONE podesta talking points Oct

122016.docx." The "talking points" included the statement that "Podesta is at the heart of a

Russian-government money laundering operation that benefits financially Podesta personally and

the Clintons through the Clinton Foundation."

       49.     CORSI followed up several minutes later with another email titled, "Podesta

talking points," with the text "sent a second time just to be sure you got it." STONE emailed

CORSI back via Target Account 1: "Got them and used them."

       50.    On or about Thursday, October 13, 2016, CORSI emailed STONE at Target

Account 2: "PODESTA -- Joule & ties to RUSSIA MONEY LAUNDERING to CLINTON

FOUNDATION." STONE responded, "Nice but I was hoping for a piece I could post under my

by-line since I am the one under attack by Podesta and now Mook." CORSI wrote back to

STONE, "I'll give you one more -NOBODY YET HAS THIS[:] It looks to me like

                                                22
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 30 of 189




             skimmed maybe billions off Skolkovo -    Skolkovo kept their money with

Metcombank[.] The Russians launched a criminal investigation(.] [web link] Once

had the channel open from Metcombank to Deutsche Bank America to Ban[k] of America's

Clinton Fund account, there's no telling how much money he laundered, or where it ended up.

Nothing in Clinton Foundation audited financials or IRS Form 990s about $$$ received via

Russia & Metcombank[.] I'm working on that angle now." STONE replied, "Ok Give me

SOMETHING to post on Podesta since I have now promised it to a dozen MSM reporters[.]"

       51.     On or about Thursday, October 13, 2016, at approximately 6:30PM, CORSI sent

STONE an email at Target Account 2, with the subject, "ROGER STONE article RUSSIAN

MAFIA STYLE MONEY-LAUNDERING, the CLINTON FOUNDATION, and JOHN

PODESTA." The text stated: "Roger[,] You are free to publish this under your own name."

That same day, STONE posted a blog post with the title, "Russian Mafia money laundering, the

Clinton Foundation and John Podesta." In that post, STONE wrote, "although I have had some

back-channel communications with Wikileaks I had no advance notice about the hacking of Mr.

Podesta nor I have I ever received documents or data from Wikileaks." The post then asked,

"Just how mucl:i money did                   , a controversial Russian billionaire investor with

ties to the Vladimir Putin and the Russian government, launder through Metcombank, a Russian

regional bank owned 99.978 percent by              , with the money transferred via Deutsche

Bank and Trust Company Americas in New York City, with the money ending up in a private

bank account in the Bank of America that is operated by the Clinton Foundation?"

       52.     On or about October 14, 2016, CORSI sent a message to STONE at Target

Account 3, "I'm in.NYC. Thinking about writing piece attacking Leer and other women. It's

basically a rewrite of what's out there. Going through new Wikileaks drop on Podesta."

                                              23
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 31 of 189




        53.        On or about October 17, 2016, CORSI messaged STONE at Target Account 3,

"On Assange, can you call me now- before 2pm[.]" STONE responded, "Missed u - just

landed JFK - on Infowars now." CORSI wrote back, "Call afterwards. Have some important

intel to share."

        54.        On or about October 17, 2016, CORSI emailed STONE at Target Accounts 1

and 2 with the subject, "Fwd: ASSANGE ... URGENT ... " CORSI wrote, "From a very trusted

source," and forwarded an email with the header information stripped out, showing only the

body text. The email read, "Yes[.] I figured this. Assange is threatening Kerry, Ecuador and

U.K. He will drop the goods on them if they move to extradite him. My guess is that he has a set

of dead man files that include Hillary. It's what they used to call a 'Mexican stand offl.]' Only

hope is that if Trump speaks out to save him[.] Otherwise he's dead anyway, once he's dropped

what he has. If HRC wins, Assange can kiss his life away. Interesting gambit Assange has to

play out. He's called Podesta's bluff and raised him the election."

       55.         On or about October 18, 2016, CORSI messaged STONE at Target Account 3,

"Pis call. Important."

       56.         On or about October 19, 2016, STONE published an article on Breitbart.com in

which he claimed he had "no advance notice of Wikileaks' hacking of Podesta's e-mails."

STONE stated, "I predicted that Podesta's business dealings would be exposed. I didn't hear it

from Wikileaks, although Julian Assange and I share a common friend. I reported the story on

my website." STONE linked to the story he had asked CORSI to write for him on October 13,

2016 discussed above.

       57.     On or about November 8, 2016, the United States presidential election took place.



                                                 24
  Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 32 of 189




       58.    On or about November 9, 2016, CORSI messaged STONE at Target Account 3,

"Congratulations, Roger. He could not have done it without you."

       59.    On or about November 10, 2016, CORSI messaged STONE at Target Account 3,

"Are you available to talk on phone?" Several minutes later, CORSI messaged, "I'm in London.

Have some interesting news for you."




                                             25
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 33 of 189
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 34 of 189




   J. STONE's Congressional Testimony and Public Statements About His Relationship
      with Wikileaks

       61.    On September 26, 2017, STONE testified before the House Permanent Select

Committee on Intelligence (HPSCI). Although the hearing was closed, STONE released to the

public what he said were his opening remarks to the committee. In them, STONE stated:

       Members of this Committee have made three basic assertions against me which must be
       rebutted here today. The charge that I knew in advance about, and predicted, the hacking
       of Clinton campaign chairman John Podesta's email, that I had advanced knowledge of
       the source or actual content of the WikiLeaks disclosures regarding Hillary Clinton or
       that, my now public exchange with a persona that our intelligence agencies claim, but
       cannot prove, is a Russian asset, is anything but innocuous and are entirely false. Again,
       such assertions are conjecture, supposition, projection, and allegations but none of them
       are facts ....

       My Tweet of August 21, 2016, in which I said, "Trust me, it will soon be the Podesta' s
       time in the barrel. #CrookedHillary" must be examined in context. I posted this at a time
       that my boyhood friend and colleague, Paul Manafort, had just resigned from the Trump
       campaign over allegations regarding his business activities in Ukraine. I thought it
       manifestly unfair that John Podesta not be held to the same standard. Note, that my
       Tweet of August 21, 2016, makes no mention, whatsoever, of Mr. Podesta's email, but
       does accurately predict that the Podesta brothers' business activities in Russia with the
       oligarchs around Putin, their uranium deal, their bank deal, and their Gazprom deal,
       would come under public scrutiny ....

      [L]et me address the charge that I had advance knowledge of the timing, content and
      source of the WikiLeaks disclosures from the DNC. On June 12, 2016, WikiLeaks'
      publisher Julian Assange[] announced that he was in possession of Clinton DNC emails.

                                               27
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 35 of 189




        I learned this by reading it on Twitter. I asked a journalist who I knew had interviewed
        Assange to independently confirm this repot1, and he subsequently did. This journalist
        assured me that WikiLeaks would release this information in October and continued to
        assure me of this throughout the balance of August and all of September. This
        info11nation proved to be correct. I have referred publicly to this journalist as an,
        "intermediary" , "go-between" and "mutual friend." All of these monikers are equally
        true.

        62.    Tn a document dated March 26, 2018 titled "Minority Views," Democratic

members of HPSCI published excerpts from Stone's September 2017 testimony before HPSCI.

Those excerpts include the following:

       Q: Have any of your employees, associates, or individuals acting on your behest or
       encouragement been in any type of contact with Julian Assange?
       MR. STONE: No.

       Q: So throughout the many months in which you represented you were either in
       communication with Assange or communication through an intermediary with Assange,
       you were only referring to a single fact that you had confirmed with the intermediary -
       MR. STONE: That-
       Q: -- was the length and the breadth of what you were referring to?
       MR. STONE: That is correct, even though it was repeated to me on numerous separate
       occasions.

       63.     In the month that followed his testimony before HPSCI, on or about October 24,

2017, STONE published an article on his website, stonecoldtruth.com, titled "Is it the Podesta's

Time in the Barrel Yet?" In that article, STONE stated: "[I]t was this inevitable scrutiny of the

Podestas' underhanded business dealings that my 'time in the barrel' referred to and not, as some

have quite falsely claimed, to the hacking and publication almost two months later of John

Podesta's emails .... [M]y tweet referred to Podesta's business dealings with Russia, and the

expectation that it would become a news story."

   K. STONE's Use of Target Account 3 to Message Randy CREDICO about STONE's
      "Back channel"




                                                28
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 36 of 189




          64.   On November 19,2017, Randy CREDICO (who, as described further below,

STONE publicly identified as his "intermediary" to ASSANGE), messaged STONE on Target

Account 3, "My lawyer wants to see me today." STONE responded, "'Stonewall it. Plead the

fifth. Anything to save the plan' ........ Richard Nixon[.]" CREDI CO responded, "Ha ha."

        65.     On or about November 21, 2017, CREDICO messaged STONE on Target

Account 3, "I was told that the house committee lawyer told my lawyer that I will be getting a

subpoena[.]" STONE wrote back, "That was the point at which your lawyers should have told

them you would assert your 5th Amendment rights if compelled to appear." They continued to

message, and CREDICO wrote, "My lawyer wants me to cut a deal." STONE wrote back, "To

do what ? Nothing happening in DC the day before Thanksgiving - why are u busting my

chops?"

        66.     On or about November 24, 2017, STONE, using Target Account 3, texted

CREDICO, "Assange is a journalist and a damn good one- meeting with him is perfectly legal

and all you ever told me was he had the goods [o]n Hillary and would publish them - which he

himself said in public b4 u told me. It's a fucking witchunt [sic]." CREDICO replied, "I told

you to watch his tweets. That's what I was basing it on. I told you to watch his Tweets in

October not before that I knew nothing about the DNC stuffT,] I just followed his tweets[.]"

STONE responded, "U never said anything about the DNC but it was August." CREDICO

wrote back, "It was not August because I didn't interview him or meet him until August 26th[.]

That was my first communication with his secretary in London, August 26th." STONE wrote

back, "Not the way I remember it- oh well I guess Schiff will try to get one of us indicted for

perjury[.]"



                                               29
       Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 37 of 189




            67.     STONE and CREDICO continued to exchange messages via Target Account 3,

    and on November 24, 2017, CREDICO wrote to STONE, "Forensic evidence proves that there is

    no back Channel. So now you can relax."

           68.      On or about November 28, 2017, CREDICO tweeted a copy of a subpoena he

received from HPSCI that was dated November 27, 2017. Toll records show that on November

27 and 28, 2017, CREDICO and STONE communicated via text message more than a dozen

times.

           69.      On November 29, 2017, STONE publicly stated that CREDICO was his

"intermediary." In a public Facebook post, STONE further stated that, "Credico merely[]

confirmed for Mr. Stone the accuracy of Julian Assange's interview of June 12, 2016 with the

British ITV network, where Assange said he had 'e-mails related to Hillary Clinton which are

pending publication,' ... Credico never said he knew or had any information as to source or

content of the material."

           70.      On or about December 1, 2017, CREDICO messaged STONE on Target

Account 3, stating, "I don't know why you had to lie and say you had a back Channel now I had

to give all of my forensic evidence to the FBI today what a headache[.] 4 You could have just told

him the truth that you didn't have a back Channel they now know that I was not in London until

September of this year[.] You had no back-channel and you could have just told the truth ...

You want me to cover you for perjury now[.]" STONE responded, "What the fuck is your

problem? Neither of us has done anything wrong or illegal. You got the best press of your life

and you can get away with asserting for 5th Amendment rights if u don't want talk about AND if



4   Contrary to his statement, CREDICO has not provided any forensic evidence to the FBI.

                                                         30
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 38 of 189




you turned over anything to the FBI you're a fool." CREDICO responded, "You open yourself

up to six counts of perjury[.] But I'm sure that wasn't sworn testimony so you're probably

clear[.] Council for the committee knows you never had a back Channel and if you had just told

the truth wouldn't have put me in this bad spot ... you should go back ... and amend your

testimony and tell them the truth." CREDICO repeated: "you need to amend your testimony

before I testify on the 15th." STONE replied, "If you testify you're a fool. Because of tromp

[sic] I could never get away with a ce1iain [sic] my Fifth Amendment rights but you can. I

guarantee you you [sic] are the one who gets indicted for perjury if you're stupid enough to

testify[.]"

        71.    STONE and CREDICO continued to message each other on or about December 1,

2017. In response to STONE's message about being "stupid enough to testify," CREDICO told

STONE: "Whatever you want to say I have solid forensic evidence." STONE responded: "Get

yourself a real lawyer instead of some liberal wimp who doesn't know how to tell his guys to

fuck off good night." CREDI CO then wrote: "Just tell them the truth and swallow your ego you

never had a back Channel particularly on June 12th[.]" STONE responded: "You got nothing."

        72.   On or about December 13, 2017, according to public reporting, CREDICO

indicated that he would not testify before HPSCI and would invoke his Fifth Amendment rights.

        73.   STONE and CREDICO continued to exchange messages via Target Account 3,

and on or about January 6, 2018, CREDICO indicated to STONE that he was having dinner with

a reporter. STONE responded, "Hope u don't fuck Up my efforts to get Assange a pardon[.]"

CREDICO messaged STONE, "I have the email from his chief of staff August 25th 2016

responding to an email I sent to WikiLeaks website email address asking you would do my

show[.] That was my initial contact."

                                               31
       Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 39 of 189




            74.      On or about January 8, 2018, CREDTCO messaged STONE on Target Account 3

stating: "Embassy logs ... + 17 other pieces of information prove that I did not have any

conversations with Assange until September of last year."

            75.      CREDICO and STONE continued to message each other, and on or about January

25, 2018, CREDICO wrote to STONE on Target Account 3: "You lied to the house Intel

committee ... But you'll get off because you're friends with Trump so don't wo1Ty. I have all

the forensic evidence[.] I was not a ba[ck] Channel and I have all those emails from September

of 2016 to prove it[.]"

            76.      On or about April 13, 2018, news reports stated that CREDICO had shown

reporters copies of email messages he had received from STONE in the prior few days that

stated, "You are a rat. You are a stoolie. You backstab your friends -                     run your mouth my

lawyers are dying Rip you to shreds." Another message stated, "I'm going to take that dog away

from you," referring to CREDICO's therapy dog. CREDICO stated that it was "certainly scary .

. . When you start bringing up my dog, you're crossing the line[.]" 5

           77.       On or about May 25, 2018, CREDICO provided additional messages he stated

were from STONE to another news agency. 6 In these messages, STONE, on April 9, 2018,

stated: "I am so ready. Let's get it on. Prepare to die[.]" In the article, CREDICO stated that he

considered this email from STONE a threat. STONE stated in the article that CREDICO "told

me he had terminal prostate cancer ... It was sent in response to that. We talked about it too.




5
 https://www.yahoo.com/news/comedian-randy-credico-says-trump-adviser-roger-stone-threatened-dog-
135911370.html

6
    https ://www.motherjones.com/ po Iitics/2018/0 5/ro ger-stone-to-associate-prepare-to-die/

                                                             32
    Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 40 of 189




He was depressed about it. Or was he lying." The article noted that CREDICO stated he did not

have prostate cancer and did not have any such discussion with STONE.

    L. STONE's Use of the Target Accounts to Communicate with Individuals Related to
       the Investigation

        78.         On May 17, 2018, Chief Judge Howell issued an order for the use of pen-trap

devices on Target Account 1 and Target Account 2. The information obtained from that order,

along with information obtained from toll records, revealed that STONE has continued to use

Target Account 1 and Target Account 2, and that he has used them to communicate with

individuals related to the investigation.

        79.         For example, STONE and                communicated twice on May 28 and May

29, 2018 using Target Account 1.                          , a former associate of STONE's, was

interviewed by the Special Counsel's Office on or aboi1t May 2, 2018. Toll records _show that

              and STONE communicated multiple times on May 5, 2018, and STONE

communicated with                  using Target Account 1 on June 1, 2018 and June 6, 2018.

               , a private investigator who had previously worked with STONE and who was hired

by STONE to research individuals associated with this case (as described further below),

communicated with STONE on Target Account 1 at least four times between May 27, 2018 and

July 12, 2018.

       80.          STONE has also used Target Account 2 to communicate with individuals

associated with this investigation.

                 a.       For example, between May 23, 2018 and the present, STONE and CORSI

exchanged at least five messages using Target Account 2. In the same time period, STONE

exchanged at least 75 emails with CREDICO using Target Account 2.


                                                   33



                •
      Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 41 of 189




                 b.      Also in this same time period, STONE emailed                       at least

ten times using Target Account 2.                is a former employee of STONE. On May 9,

2018, FBI agents approached               and                                          That day,

and again on May 10, 2018,                                         communicated by phone with

STONE. Overall, between May 23, 2018 and the present, STONE exchanged over 100 emails

wit               , using Target Account 2. In addition, between on or about June 14, 2018 and

June 17, 2018,             and STONE exchanged five emails using Target Account 2.




        81.      STONE has also used a phone number associated with Target Account 3 to

communicate with                   a private investigator hired by STONE.                  was

interviewed by investigators on June 7, 2018, and subsequently info1med investigators that in

June 2018, STONE instructed him to conduct a full background investigation on

        who had been employed by STONE during the Campaign as an info1mation technology

specialist.

                         also told investigators that in June 2018, STONE instructed him to find

an address for CREDICO that could be used to serve CREDICO with legal process.

              told investigators that his primary form of communication with STONE is by text

message on Target Account 3.


                            BACKGROUND CONCERNING EMAIL

        82.      In my training and experience, I have learned the Providers provide a variety of

on-line services, including electronic mail ("email") to the public. The Providers allow


                                                 34
    Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 42 of 189




subscribers to obtain email accounts at the domain names identified in the email address

contained in Attachment A and C. Subscribers obtain an account by registering with the

Providers. During the registration process, the Providers ask subscribers to provide basic

personal information. Therefore, the computers of the Providers are likely to contain stored

electronic communications (including retrieved and unretrieved email) for their subscribers and

information concerning subscribers and their use of services, such as account access information,

email transaction information, and account application information. In my training and

experience, such information may constitute evidence of the crimes under investigation because

the information can be used to identify the account's user or users.

        83.     In my training and experience, email Providers generally ask their subscribers to

provide certain personal identifying information when registering for an email account. Such

information can include the subscriber's full name, physical address, telephone numbers and

other identifiers, alternative email addresses, and, for paying subscribers, means and source of

payment (including any credit or bank account number). In my training and experience, such

information may constitute evidence of the crimes under investigation because the information

can be used to identify the account's user or users. Based on my training and my experience, I

know that, even if subscribers insert false information to conceal their identity, this information

often provides clues to their identity, location, or illicit activities.

        84.     In my training and experience, email Providers typically retain certain

transactional information about the creation and use of each account on their systems. This

information can include the date on which the account was created, the length of service, records

of log-in (i.e., session) times and durations, the types of service utilized, the status of the account

(including whether the account is inactive or closed), the methods used to connect to the account

                                                    35
    Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 43 of 189




(such as logging into the account via the Providers' website), and other log files that reflect

usage of the account. In addition, email Providers often have records of the Internet Protocol

address ("IP address") used to register the account and the IP addresses associated with particular

logins to the account. Because every device that connects to the Internet must use an IP address,

IP address infonnation can help to identify which computers or other devices were used to access

the email account.

        85.    In my training and experience, in some cases, email account users will

communicate directly with an email service Providers about issues relating to the account, such

as technical problems, billing inquiries, or complaints from other users. Email Providers

typically retain records about such communications, including records of contacts between the

user and the Providers' support services, as well as records of any actions taken by the Providers

or user as a result of the communications. In my training and experience, such information may

constitute evidence of the crimes under investigation because the information can be used to

identify the account's user or users.

       86.     As explained herein, information stored in connection with an email account may

provide crucial evidence of the "who, what, why, when, where, and how" of the criminal conduct

under investigation, thus enabling the United States to establish and prove each element or

alternatively, to exclude the innocent from further suspicion. In my training and experience, the

information stored in connection with an email account can indicate who has used or controlled

the account. This "user attribution" evidence is analogous to the search for "indicia of

occupancy" while executing a search warrant at a residence. For example, email

communications, contacts lists, and images sent (and the data associated with the foregoing, such

as date and time) may indicate who used or controlled the account at a relevant time. Further,

                                                36
    Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 44 of 189




infonnation maintained by the email Providers can show how and when the account was

accessed or used. For example, as described below, email Providers typically log the Internet

Protocol (IP) addresses from which users access the email account, along with the time and date

of that access. By determining the physical location associated with the logged IP addresses,

investigators can understand the chronological and geographic context of the email account

access and use relating to the crime under investigation. This geographic and timeline

information may tend to either inculpate or exculpate the account owner. Additionally,

information stored at the user's account may further indicate the geographic location of the

account user at a particular time (e.g., location information integrated into an image or video sent

via email). Last, stored electronic data may provide relevant insight into the email account

owner's state of mind as it relates to the offense under investigation. For example, information in

the email account may indicate the owner's motive and intent to commit a crime (e.g.,

communications relating to the crime), or consciousness of guilt (e.g., deleting communications

in an effort to conceal them from law enforcement).

         87.      In my training and experience, information such as search history can help to

show the state of mind of an individual at the time the search was made, as well as the

individuals potential advance knowledge of events, as they search to see if the anticipated event

has occurred.

                   INFORMATION REGARDING APPLE ID AND iCLOUD 7




           The information in this section is based on information published by Apple on its website, including, but
not limited to, the following document and webpages: "U.S. Law Enforcement Legal Process Guidelines," available
at htip://images.apple.com/ privacy/docs/.l cgal-process-guidelines-us.pdf; "Create and start using an Apple ID,"
available at https://support.apple.com/en-us/HT203993; "iCioud," available at htlj ://www.apple.com/ icloud/; "What
does iCloud back up?," available at https://suppo1i .app le.corn/kb/PHJ 25 19; "iOS Security," available at
                                                        37
    Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 45 of 189




         88.     Apple is a United States company that produces the iPhone, iPad, and iPod

Touch, all of which use the iOS operating system, and desktop and laptop computers based on

the Mac OS operating system.


         89.     Apple provides a variety of services that can be accessed from Apple devices or,

in some cases, other devices via web browsers or mobile and desktop applications ("apps"). As

described in further detail below, the services include email, instant messaging, and file storage:

                 a.       Apple provides email service to its users through email addresses at the

domain names mac.com, me.corn, and icloud.com.

                 b.       iMessage and FaceTirne allow users of Apple devices to communicate in

real-time. iMessage enables users of Apple devices to exchange instant messages ("iMessages")

containing text, photos, videos, locations, and contacts, while FaceTime enables those users to

conduct video calls.

                 c.       iCloud is a file hosting, storage, and sharing service provided by Apple.

iCloud can be utilized through numerous iCloud-connected services, and can also be used to

store iOS device backups and data associated with third-party apps.

                 d.       iCloud-connected services allow users to create, store, access, share, and

synchronize data on Apple devices or via icloud.com on any Internet-connected device. For

example, iCloud Mail enables a user to access Apple-provided email accounts on multiple Apple

devices and on icloud.com. iCloud Photo Library and My Photo Stream can be used to store and

manage images and videos taken from Apple devices, and iCloud Photo Sharing allows the user




https://www.appl e.com/business/docs/iOS Security Guide.pdt: and "iCloud: How Can I Use iCloud?," available at
https://suppo1t.apple.com/kb/PH26502.

                                                      38
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 46 of 189




to share those images and videos with other Apple subscribers. iCloud Drive can be used to

store presentations, spreadsheets, and other documents. iCloud Tabs and bookmarks enable

iCloud to be used to synchronize bookmarks and webpages opened in the Safari web browsers

on all of the user's Apple devices. iWork Apps, a suite of productivity apps (Pages, Numbers,

Keynote, and Notes), enables iCloud to be used to create, store, and share documents,

spreadsheets, and presentations. iCloud Keychain enables a user to keep website username and

passwords, credit card information, and Wi-Fi network information synchronized across multiple

Apple devices.

                 e.   Game Center, Apple's social gaming network, allows users of Apple

devices to play and share games with each other.

                 f.   Find My iPhone allows owners of Apple devices to remotely identify and

track the location of, display a message on, and wipe the contents of those devices. Find My

Friends allows owners of Apple devices to share locations.

                 g.   Location Services allows apps and websites to use information from

cellular, Wi-Fi, Global Positioning System ("GPS") networks, and Bluetooth, to determine a

user's approximate location.

                 h.   App Store and iTunes Store are used to purchase and download digital

content. iOS apps can be purchased and downloaded through App Store on iOS devices, or

through iTunes Store on desktop and laptop computers running either Microsoft Windows or

Mac OS. Additional digital content, including music, movies, and television shows, can be

purchased through iTunes Store on iOS devices and .on desktop and laptop computers running

either Microsoft Windows or Mac OS.



                                              39
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 47 of 189




        90.     Apple services are accessed through the use of an "Apple ID," an account created

during the setup of an Apple device or through the iTunes or iCloud services. A single Apple ID

can be linked to multiple Apple services and devices, serving as a central authentication and

syncing mechanism.

        91.     An Apple ID takes the form of the full email address submitted by the user to

create the account; it can later be changed. Users can submit an Apple-provided email address

(often ending in @icloud.com, @me.com, or@mac.com) or an email address associated with a

third-party email provider (such as Gmail, Yahoo, or Hotmail). The Apple ID can be used to

access most Apple services (including iCloud, iMessage, and FaceTime) only after the user

accesses and responds to a "verification email" sent by Apple to that "primary" email address.

Additional email addresses ("alternate," "rescue," and "notification" email addresses) can also be

associated with an Apple ID by the user.

        92.    Apple captures information associated with the creation and use of an Apple ID.

During the creation of an Apple ID, the user must provide basic personal information including

the user's full name, physical address, and telephone numbers. The user may also provide means

of payment for products offered by Apple. The subscriber information and password associated

with an Apple ID can be changed by the user through the "My Apple ID" and "iForgot" pages on

Apple's website. In addition, Apple captures the date on which the account was created, the

length of service, records of log-in times and durations, the types of service utilized, the status of

the account (including whether the account is inactive or closed), the methods used to connect to

and utilize the account, the Internet Protocol address ("IP address") used to register and access

the account, and other log files that reflect usage of the account.



                                                 40
    Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 48 of 189




          93.   Additional information is captured by Apple in connection with the use of an

Apple ID to access certain services. For example, Apple maintains connection logs with IP

addresses that reflect a user's sign-on activity for Apple services such as iTunes Store and App

Store, iC!oud, Game Center, and the My Apple ID and iForgot pages on Apple's website. Apple

also maintains records reflecting a user's app purchases from App Store and iTunes Store, "call

invitation logs" for FaceTime calls, "query logs" for iMessage, and "mail logs" for activity over

an Apple-provided email account. Records relating to the use of the Find My iPhone service,

including connection logs and requests to remotely lock or erase a device, are also maintained by

Apple.

          94.   Apple also maintains information about the devices associated with an Apple ID.

When a user activates or upgrades an iOS device, Apple captures and retains the user's IP

address and identifiers such as the Integrated Circuit Card ID number ("ICCID"), which is the

serial number of the device's SIM card. Similarly, the telephone number of a user's iPhone is

linked to an Apple ID when the user signs in to FaceTime or iMessage. Apple also may

maintain records of other device identifiers, including the Media Access Control address ("MAC

address"), the unique device identifier ("UDID"), and the serial number. In addition,

information about a user's computer is captured when iTunes is used on that computer to play

content associated with an Apple ID, and information about a user's web browser may be

captured when used to access services through icloud.com and apple.com. Apple also retains

records related to communications between users and Apple customer service, including

communications regarding a particular Apple device or service, and the repair history for a

device.



                                               41
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 49 of 189




        95.     Apple provides users with five gigabytes of free electronic space on iCloud, and

users can purchase additional storage space. That storage space, located on servers controlled by

Apple, may contain data associated with the use of iCloud-connected services, including: email

(iCloud Mail); images and videos (iCloud Photo Library, My Photo Stream, and iCloud Photo

Sharing); documents, spreadsheets, presentations, and other files (iWork and iCloud Drive); and

web browser settings and Wi-Fi network information (iCloud Tabs and iCloud Keychain).

iCloud can also be used to store iOS device backups, which can contain a user's photos and

videos, iMessages, Short Message Service ("SMS") and Multimedia Messaging Service

("MMS") messages, voicemail messages, call history, contacts, calendar events, reminders,

notes, app data and settings, Apple Watch backups, and other data. Records and data associated

with third-party apps may also be stored on iCloud; for example, the iOS app for WhatsApp, an

instant messaging service, can be configured to regularly back up a user's instant messages on

iCloud Drive. Some of this data is stored on Apple's servers in an encrypted form but can

nonetheless be decrypted by Apple.


       96.      In my training and experience, evidence of who was using an Apple ID and from

where, and evidence related to criminal activity of the kind described above, may be found in the

files and records described above. This evidence may establish the "who, what, why, when,

where, and how" of the criminal conduct under investigation, thus enabling the United States to

establish and prove each element or, alternatively, to exclude the innocent from further

susp1c10n.


             INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED




                                                42
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 50 of 189




        97.     l anticipate executing this warrant under the Electronic Communications Privacy

Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(l)(A) and 2703(c)(l)(A), by using the warrant

to require Google to disclose to the government copies of the records and other information

(including the content of communications) associated with the accounts in Attachment A, C, and

E and particularly described in Section I of Attachment B, D, and F. Upon receipt of the

information described in Section I of Attachments B, D, and F, government-authorized persons

will review that information to locate the items described in Section II of Attachment B, D, and

F. The items identified in Attachments A-F will also be screened by reviewers not on the

prosecution team to identify and filter out privileged material.

                                          CONCLUSION

        98.    Based on the forgoing, I request that the Court issue the proposed search warrant.

        99.    Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant.

                                   REQUEST FOR SEALING

        100.   I further request that the Court order that all papers in support of this application,

including the affidavit and search warrant, be sealed until further order of the Court. These

documents discuss an ongoing criminal investigation, the full nature and extent of which is not

known to all of the targets of the investigation. Accordingly, there is good cause to seal these

documents because their premature disclosure may seriously jeopardize that investigation.

                                                      Respectfully submitted,


                                                           k~___/
                                                      Andrew Mitchel l
                                                      Special Agent
                                                      Federal Bureau of Investigation

                                                 43
  Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 51 of 189




Subscribed and sworn to before me on this   .P'{ y of August, 2018.

                                             /     )/    ~_./            ,

                                            - ~-~ /;Arr-Cz,1/
                                    The Honorable Beryl A. Howell
                                    Chief United States District Judge




                                             44
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 52 of 189




                                      ATTACHMENT A

                                   Property to be Searched

       This warrant applies to information associated with the email address:




created or maintained between September 11, 2017 and present, that is stored at premises owned,

maintained, controlled, or operated by Microsoft Corp., d/b/a Hotmail, a company headquartered

at One Microsoft Way, Redmond, WA 98052.




                                              45
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 53 of 189




                                        ATTACHMENT B

                                  Particular Things to be Seized

    I.       Files and Accounts to be produced by the Provider:


    To the extent that the information described in Attachment A is within the possession,
custody, or control of the Provider including any messages, records, files, logs, images, videos,
or information that have been deleted but are still available to the Provider or have been
preserved pursuant to a preservation request under 18 U.S.C. § 2703(f), the Provider is required
to disclose the following infor1!1ation to the government for each account or identifier listed in
Attachment A:

   a. The contents of all e-mails, attachments and chat messages stored in the account,
      including copies of e-mails sent to and from the account, draft e-mails, the source and
      destination e-mails sent addresses associated with each e-mail, the date and time at which
      each e-mail was sent, and the size and length of each e-mail;

   b. All existing printouts from original storage of all of the electronic mail described above
      in Section I.A. above;

   c. AJI internet search data including all queries and location data;

   d. All transactional information of all activity of the account described above in Section I.A,
      including log files, dates, times, methods of connecting, ports, dial ups, and/or locations;

   e. All records or other information stored by an individual using the account, including
      address books, contact and buddy lists, calendar data, pictures, and files;

   f.    Records or other information regarding the identification of the account described above
         in Section I.A, to include application, full name, physical address, telephone numbers and
         other identifiers, records of session times and durations, log-in IP addresses associated
         with session times and dates, account status, alternative e-mail addresses provided during
         registration, all screen names associated with subscribers and/or accounts, all account
         names associated with the subscriber,

   g. All records indicating the services available to subscribers of the electronic mail address
      described above in Section I.A.;




                                                46
      Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 54 of 189




II.          Information to be Seized by Law Enforcement Personnel

        Any and all records that relate in any way to the accounts described in Attachment A
which consists of evidence, fruits, or instrumentalities of violations of 18 U.S.C. § 2 (aiding and
abetting), 18 U.S.C . § 3 (accessory after the fact), 18 U.S.C. § 4 (misprision of a felony), 18
U.S.C. § 371 (conspiracy), 18 U.S.C. § 1001 (false statements), 18 U.S.C. § 1030 (unauthorized
access of a protected computer); 18 U.S.C. §§ 1505 and 1512 (obstruction of justice), 18 U.S.C.
§ 1513 (witness tampering); 18 U.S.C. § 1343 (wire fraud), 18 U.S.C. § 1349 (attempt and
conspiracy to commit wire fraud), and 52 U.S.C. § 30121 (foreign contribution ban) from June 1,
2015 to present, including:

      a. All records, information, documents or tangible materials that relate in any way to
      communications regarding hacking, release of hacked material, communications with
      persons or entities associated with WikiLeaks, including but not limited to Julian Assange, or
      communications regarding disinformation, denial, dissembling or other obfuscation about
      knowledge of, or access to hacked material;

      b. All records, information, documents or tangible materials that relate in any way to
      communications or meetings involving Jerome Corsi,                       , Julian Assange,
                                                      Randy Credico, or any individual
      associated with the Trump Campaign;

      c. All images, messages, communications, calendar entries, search terms, "address book"
      entries and contacts, including any and all preparatory steps taken in furtherance of the
      above-listed offenses;

      d. Communication, information, documentation and records relating to who created, used, or
      communicated with the account or identifier concerning the messages identified above,
      including records about their identities and whereabouts;

      e. Evidence of the times the account was used;

      f.   All images, messages and communications regarding wiping software, encryption or
           other methods to avoid detection by law enforcement;

      g. Passwords and encryption keys, and other access information that may be necessary to
         access the account and other associated accounts;

      h. Credit card and other financial information, including but not limited to, bills and
         payment records evidencing ownership of the subject account;


                                                  47
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 55 of 189




1.   All existing printouts from original storage which concern the categories identified in
     subsection II.a




                                             48
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 56 of 189




                                       ATTACHMENT C

                                    Property to be Searched

       This warrant applies to information associated with the following Google account:




created or maintained between October 17, 2017 and the present, that is stored at premises

owned, maintained, controlled, or operated by Google, Inc., a business with offices located at

1600 Amphitheatre Parkway, Mountain View, CA 94043.




                                               49
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 57 of 189




                                         ATTACHMENT D

                                   Particular Things to be Seized

    I.       Files and Accounts to be produced by Google, Inc.

        To the extent that the information described in Attachment C is within the possession,
custody, or control of Google, Inc. including any messages, records, files, logs, images, videos,
or information that have been deleted but are still available to Google or have been preserved
pursuant to a preservation request under 18 U.S .C. § 2703(f), Google is required to disclose the
following information to the government for each account or identifier listed in Attachment C:

   a. The contents of all e-mails, attachments and chat messages stored in the account,
      including copies of e-mails sent to and from the account, draft e-mails, the source and
      destination e-mails sent addresses associated with each e-mail, the date and time at which
      each e-mail was sent, and the size and length of each e-mail;

                b.     All existing printouts from original storage of all of the electronic mail
         described above in Section I.A. above;

                c.      All internet search data including all queries and location data;

                 d.     All transactional information of all activity of the account described above
         in Section I.A, including log files, dates, times, methods of connecting, ports, dial ups,
         and/or locations;

                e.      All records or other information stored by an individual using the account,
         including address books, contact and buddy lists, calendar data, pictures, and files;

                 f.     All records or other information regarding the identification of the account
         described above in Section I.A, to include application, full name, physical address,
         telephone numbers and other identifiers, records of session times and durations, the date
         on which the account was created, the length of service, the types of service utilized, the
         IP address used to register the account, log-in IP addresses associated with session times
         and dates, account status, alternative e-mail addresses provided during registration, all
         screen names associated with subscribers and/or accounts, all account names associated
         with the subscriber, methods of connecting, log files, means and source of payment
         (including any credit or bank account number), and detailed billing records;

                 g.     All records indicating the services available to subscribers of the
         electronic mail address described above in Section I.A.;

                 h.   Google+ subscriber information, circle information, including name of
         circle and members, contents of posts, comments, and photos, to include date and
         timestamp;

                                                 50
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 58 of 189




           1.     Google Drive files created, accessed or owned by the account;

         j.      YouTube subscriber information, private videos and files, private
   messages, and comments;

          k.      Google+ Photos contents to include all images, videos and other files, and
   associated upload/download date and timestamp;

          l.     Google Talk and Google Hangouts conversation logs associated with the
   account.




                                          51
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 59 of 189




    II.       Information to be Seized by Law Enforcement Personnel

Any and all records that relate in any way to the accounts described in Attachment C which
consists of evidence, fruits, or instrumentalities of violations of 18 U.S.C. § 2 (aiding and
abetting), 18 U.S.C. § 3 (accessory after the fact), 18 U.S.C. § 4 (misprision of a felony), 18
U.S.C. § 371 (conspiracy), 18 U.S.C. § 1001 (false statements), 18 U.S.C. § 1030 (unauthorized
access of a protected computer); 18 U.S.C. §§ 1505 and 1512 (obstruction of justice), 18 U.S.C.
§ 1513 (witness tampering); 18 U.S.C. § 1343 (wire fraud), 18 U.S.C. § 1349 (attempt and
conspiracy to commit wire fraud), and 52 U.S.C. § 30121 (foreign contribution ban), from June
1, 2015 to present, including:

   a. All records, information, documents or tangible materials that relate in any way to
   communications regarding hacking, release of hacked material, communications with
   persons or entities associated with WikiLeaks, including but not limited to Julian Assange, or
   communications regarding disinformation, denial, dissembling or other obfuscation about
   knowledge of, or access to hacked material;

   b. All records, information, documents or tangible materials that relate in any way to
   communications or meetings involving Jerome Corsi,                         Julian Assange,
                                                   Randy Credico, or any individual
   associated with the Trump Campaign;

   c. All images, messages, communications, calendar entries, search terms, "address book"
   entries and contacts, including any and all preparatory steps taken in furtherance of the
   above-listed offenses;

   d. Communication, information, documentation and records relating to who created, used, or
   communicated with the account or identifier concerning the messages identified above,
   including records about their identities and whereabouts;

   e. Evidence of the times the account was used;

   f.     All images, messages and communications regarding wiping software, encryption or
          other methods to avoid detection by law enforcement;

   g. Passwords and encryption keys, and other access information that may be necessary to
      access the account and other associated accounts;

   h. Credit card and other financial information, including but not limited to, bills and
      payment records evidencing ownership of the subject account;

   1.     All existing printouts from original storage which concern the categories identified in
          subsection II.a

                                                  52
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 60 of 189




                                      ATTACHMENTE

                                   Property to be Searched

       This warrant applies to information associated with the following Apple DSID:




created or maintained between March 14, 2018 and the present, that is stored at premises owned,

maintained, controlled, or operated by Apple, Inc., located at One Apple Park Way, Cupertino,

California 95014.




                                              53
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 61 of 189




                                        ATACHMENTF

                                 Particular Things to be Seized

    I.      Files and Accounts to be produced by the Provider:

        To the extent that the information described in Attachment E is within the possession,
custody, or control of Apple, regardless of whether such information is located within or outside
of the United States, including any messages, records, tiles, logs, or information that have been
deleted but are still available to Apple, or have been preserved pursuant to a request made under
18 U.S.C. § 2703(£), Apple is required to disclose the following infonnation to the government,
in unencrypted form whenever available, for each account or identifier listed in Attachment E:

        a.      All records or other information regarding the identification of the account, to
include full name, physical address, telephone numbers, email addresses (including primary,
alternate, rescue, and notification email addresses, and verification information for each email
address), the date on which the account was created, the length of service, the IP address used to
register the account, account status, associated devices, methods of connecting, and means and
source of payment (including any credit or bank account numbers);

        b.     All records or other information regarding the devices associated with, or used in
connection with, the account (including all current and past trusted or authorized iOS devices
and computers, and any devices used to access Apple services), including serial numbers, Unique
Device Identifiers ("UDID"), Advertising Identifiers ("IDFA"), Global Unique Identifiers
("GUID"), Media Access Control ("MAC") addresses, Integrated Circuit Card ID numbers
("ICCID"), Electronic Serial Numbers ("ESN"), Mobile Electronic Identity Numbers ("MEIN"),
Mobile Equipment Identifiers ("MEID"), Mobile Identification Numbers ("MIN"), Subscriber
Identity Modules ("SIM"), Mobile Subscriber Integrated Services Digital Network Numbers
("MSISDN"), International Mobile Subscriber Identities ("IMSI"), and International Mobile
Station Equipment Identities ("IMEI");

         c.    The contents of all emails associated with the account, including stored or
preserved copies of emails sent to and from the account (including all draft emails and deleted
emails), the source and destination addresses associated with each email, the date and time at
which each email was sent, the size and length of each email, and the true and accurate header
information including the actual IP addresses of the sender and the recipient of the emails, and
all attachments;

        d.      The contents of all instant messages associated with the account, including stored
or preserved copies of instant messages (including iMessages, SMS messages, and MMS
messages) sent to and from the account (including all draft and deleted messages), the source and
destination account or phone number associated with each instant message, the date and time at
which each instant message was sent, the size and length of each instant message, the actual IP
addresses of the sender and the recipient of each instant message, and the media, if any, attached
to each instant message;

                                                54
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 62 of 189




        e.     The contents of all files and other records stored on iCloud, including all iOS
device backups, all Apple and third-party app data, all files and other records related to iCloud
Mail, iCloud Photo Sharing, My Photo Stream, iCloud Photo Library, iCloud Drive, iWork
(including Pages, Numbers, Keynote, and Notes), iCloud Tabs and bookmarks, and iCloud
Keychain, and all address books, contact and buddy lists, notes, reminders, calendar entries,
images, videos, voicemails, device settings, and bookmarks;

        f.      All activity, connection, and transactional logs for the account (with associated IP
addresses including source port numbers), including FaceTime call invitation logs, messaging
and query logs (including iMessage, SMS, and MMS messages), mail logs, iCloud logs, iTunes
Store and App Store logs (including purchases, downloads, and updates of Apple and third-party
apps), My Apple ID and iForgot logs, sign-on logs for all Apple services, Game Center logs,
Find My iPhone and Find My Friends logs, logs associated with web-based access of Apple
services (including all associated identifiers), and logs associated with iOS device purchase,
activation, and upgrades;

       g.      All records and information regarding locations where the account or devices
associated with the account were accessed, including all data stored in connection with Location
Services, Find My iPhone, Find My Friends, and Apple Maps;

        h.     All records pertaining to the types of service used;

       i.      All records pertaining to communications between Apple and any person
regarding the account, including contacts with support services and records of actions taken; and

        j.        All files, keys, or other information necessary to decrypt any data produced in an
encrypted form, when available to Apple (including, but not limited to, the keybag.txt and
fileinfolist.txt files).




                                                 55
      Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 63 of 189




II.        Information to be Seized by Law Enforcement Personnel

    Any and all records that relate in any way to the accounts described in Attachment A which
consists of evidence, fruits, or instrumentalities of violations of 18 U.S.C. § 2 (aiding and
abetting), 18 U.S.C. § 3 (accessory after the fact), 18 U.S.C. § 4 (misprision of a felony), 18
U.S.C. § 371 (conspiracy), 18 U.S.C. § 1001 (false statements), 18 U.S.C. § 1030 (unauthorized
access of a protected computer); 18 U.S.C. §§ 1505 and 1512 (obstruction.of justice), 18 U.S.C.
§ 1513 (witness tampering); 18 U.S.C. § 1343 (wire fraud), 18 U.S.C. § 1349 (attempt and
conspiracy to commit wire fraud), and 52 U.S.C. § 30121 (foreign contribution ban), from June
1, 2015 to present, including:

      a. All records, information, documents or tangible materials that relate in any way to
      communications regarding hacking, release of hacked material, communications with
      persons or entities associated with WikiLeaks, including but not limited to Julian Assange, or
      communications regarding disinformation, denial, dissembling or other obfuscation about
      knowledge of, or access to hacked material;

      b. All records, information, documents or tangible materials that relate in any way to
      communications or meetings involving Jerome Corsi,                         Julian Assange,
                                                      Randy Credico, or any individual
      associated with the Trump Campaign;

      c. All images, messages, communications, calendar entries, search terms, "address book"
      entries and contacts, including any and all preparatory steps taken in furtherance of the
      above-listed offenses;

      d. Communication, information, documentation and records relating to who created, used, or
      communicated with the account or identifier concerning the messages identified above,
      including records about their identities and whereabouts;

      e. Evidence of the times the account was used;

      f.   All images, messages and communications regarding wiping software, encryption or
           other methods to avoid detection by law enforcement;

      g. Passwords and encryption keys, and other access information that may be necessary to
         access the account and other associated accounts;

      h. Credit card and other financial information, including but not limited to, bills and
         payment records evidencing ownership of the subject account;

      1.   All existing printouts from original storage which concern the categories identified in
           subsection II.a

                                                    56
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 64 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 65 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 66 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 67 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 68 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 69 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 70 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 71 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 72 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 73 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 74 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 75 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 76 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 77 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 78 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 79 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 80 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 81 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 82 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 83 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 84 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 85 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 86 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 87 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 88 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 89 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 90 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 91 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 92 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 93 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 94 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 95 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 96 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 97 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 98 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 99 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 100 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 101 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 102 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 103 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 104 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 105 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 106 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 107 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 108 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 109 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 110 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 111 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 112 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 113 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 114 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 115 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 116 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 117 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 118 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 119 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 120 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 121 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 122 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 123 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 124 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 125 of 189
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 126 of 189
                  Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 127 of 189

AO 93 (Rev. 11/13) Search and Seizure Warrant



                                           UNITED STATES DISTRICT COURT
                                                                             for the
                                                                    District of Columbia

                  In the Matter of the Search of                                )
              (Briefly describe the property to be searched                     )      Case: 1: 18-sc-02583
               or identify the person by name and address)                      )      Ass!gned To: Howell, Beryl A.
          INFORMATION ASSOCIATED WITH THREE                                     )      Assign. Date : 8/3/2018
       ACCOUNTS STORED AT PREMISES CONTROLLED                                   )
            BY MICROSOFT, GOOGLE, AND APPLE                                     )      Description: Search & Seizure Warrant

                                                  SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the           Northern          District of                California
(identify the person or describe the property lo be searched and give its location):


      See Attachment C




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

      See Attachment D




        YOU ARE COMMANDED to execute this warrant on or before                  August 15, 2018         (not to exceed 14 days)
      ~ in the daytime 6:00 a.m. to I 0:00 p.m. 0 at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
         The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to           Hon. Beryl A. Howell, Chief U.S. District Judge
                                                                                                   (United States Magistrale Judge)

     0 Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     0 for _ _ days (not to exceed 30) 0 until, the facts justifying, the later specific date of


Date and time issued:


City and state:             Washington, DC                                                 Hon. Beryl A. Howell, Chief U.S. District Judge
                                                                                                         Printed name and title
                 Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 128 of 189


AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)

                                                                   Return
Case No.:                                Date and time warrant executed:        Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name of any person(s) seized:




                                                                Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                      Executing officer's signature



                                                                                         Printed name and title
  Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 129 of 189




                                      ATTACHMENT C

                                    Property to be Searched

       This warrant applies to information associated with the following Google account:




created or maintained between October 17, 2017 and the present, that is stored at premises

owned, maintained, controlled, or operated by Google, Inc., a business with offices located at

1600 Amphitheatre Parkway, Mountain View, CA 94043.




                                               49
  Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 130 of 189




                                       ATTACHMENTD

                                 Particular Things to be Seized

   I.       Files and Accounts to be produced by Google, Inc.

        To the extent that the information described in Attachment C is within the possession,
custody, or control of Google, Inc. including any messages, records, files, logs, images, videos,
or information that have been deleted but are still available to Google or have been preserved
pursuant to a preservation request under 18 U.S.C. § 2703(f), Google is required to disclose the
following information to the government for each account or identifier listed in Attachment C:

   a. The contents of all e-mails, attachments and chat messages stored in the account,
      including copies of e-mails sent to and from the account, draft e-mails, the source and
      destination e-mails sent addresses associated with each e-mail, the date and time at which
      each e-mail was sent, and the size and length of each e-mail;

               b.     All existing printouts from original storage of all of the electronic mail
        described above in Section I.A. above;

               c.      All internet search data including all queries and location data;

                d.     All transactional information of all activity of the account described above
        in Section I.A, including log files, dates, times, methods of connecting, ports, dial ups,
        and/or locations;

               e.      All records or other information stored by an individual using the account,
        including address books, contact and buddy lists, calendar data, pictures, and files;

                f.     All records or other information regarding the identification of the account
        described above in Section I.A, to include application, full name, physical address,
        telephone numbers and other identifiers, records of session times and durations, the date
        on which the account was created, the length of service, the types of service utilized, the
        IP address used to register the account, log-in IP addresses associated with session times
        and dates, account status, alternative e-mail addresses provided during registration, all
        screen names associated with subscribers and/or accounts, all account names associated
        with the subscriber, methods of connecting, log files, means and source of payment
        (including any credit or bank account number), and detailed billing records;

                g.     All records indicating the services available to subscribers of the
        electronic mail address described above in Section I.A.;

                h.   Google+ subscriber information, circle information, including name of
        circle and members, contents of posts, comments, and photos, to include date and
        timestamp;

                                                50
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 131 of 189




          i.      Google Drive files created, accessed or owned by the account;

         j.      YouTube subscriber infonnation, private videos and files, private
   messages, and comments;

          k.      Google+ Photos contents to include all images, videos and other files, and
   associated upload/download date and timestamp;

          I.     Google Talk and Google Hangouts conversation logs associated with the
   account.




                                          51
  Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 132 of 189




    II.       Information to be Seized by Law Enforcement Personnel

Any and all records that relate in any way to the accounts described in Attachment C which
consists of evidence, fruits, or instrumentalities of violations of 18 U.S.C. § 2 (aiding and
abetting), 18 U.S.C. § 3 (accessory after the fact), 18 U.S.C. § 4 (misprision of a felony), 18
U.S.C. § 371 (conspiracy), 18 U.S.C. § 1001 (false statements), 18 U.S.C. § 1030 (unauthorized
access of a protected computer); 18 U.S.C. §§ 1505 and 1512 (obstruction of justice), 18 U.S.C.
§ 1513 (witness tampering); 18 U.S.C. § 1343 (wire fraud), 18 U.S.C. § 1349 (attempt and
conspiracy to commit wire fraud), and 52 U.S.C. § 30121 (foreign contribution ban), from June
1, 2015 to present, including:

   a. All records, information, documents or tangible materials that relate in any way to
   communications regarding hacking, release of hacked material, communications with
   persons or entities associated with WikiLeaks, including but not limited to Julian Assange, or
   communications regarding disinformation, denial, dissembling or other obfuscation about
   knowledge of, or access to hacked material;

   b. All records, information, documents or tangible materials that relate in any way to
   communications or meetings involving Jerome Corsi,                         Julian Assange,
                                                   Randy Credico, or any individual
   associated with the Trump Campaign;

   c. All images, messages, communications, calendar entries, search terms, "address book"
   entries and contacts, including any and all preparatory steps taken in furtherance of the
   above-listed offenses;

   d. Communication, information, documentation and records relating to who created, used, or
   communicated with the account or identifier concerning the messages identified above,
   including records about their identities and whereabouts;

   e. Evidence of the times the account was used;

   f.     All images, messages and communications regarding wiping software, encryption or
          other methods to avoid detection by law enforcement;

   g. Passwords and encryption keys, and other access information that may be necessary to
      access the account and other associated accounts;

   h. Credit card and other financial information, including but not limited to, bills and
      payment records evidencing ownership of the subject account;

   1.     All existing printouts from original storage which concern the categories identified in
          subsection II.a

                                                  52
              Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 133 of 189
 AO 106 (Rev. 04/10) Application for a Search Warrant



                                        UNITED STATES DISTRICT COURT                                                     f
                                                                       for the                                           AUG ._ 3 201H
                                                              District of Columbia                             Clerk, U. S, lllstrlct & Bankrupic}
                                                                                                              Courts for t~e District of Columola
               In the Matter of the Search of                           )           Case: 1:18-sc-02583
           (Briefly describe rhe property to be searched                )
            or ide11tifj1 l11e person by name a11d,addrcss)             )           Assigned To : Howell, Beryl A.
INFORMATION ASSOCIATED WITH THREE ACCOUNTS                              )           Assign. Date : 8/3/2018
STORED AT PREMISES CONTROLLED BY MICROSOFT,                             )
             GOOGLE, AND APPLE                                          )
                                                                                    Description: Search & Seizure Warrant

                                              APPLICATION FOR A SEARCH WARRANT
         I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
 penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
 property to be searched and give its localion):

 See Attachment C
 located in the           - - - - - District of
                    - - -Northern                                           California
                                                              - -- - - - - - - - - -
                                                                                                  , there is now concealed (identify the
 person or describe the property to be seized):
  See Attachment D


            The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                 ~ evidence of a crime;
                  ~ contraband, fruits of crime, or other items illegally possessed;
                  ~ property designed for use, intended for use, or used in committing a crime;
                  0 a person to be arrested or a person who is unlawfully restrained.

            The search is related to a violation of:
              Code Section                                                          Offense Description
         18 u.s.c. §§ 1505, 1512, 1513             Obstruction of justice, Witness tampering
         18 U.S.C. §§ 1001, 1030, 371              False Statements, Unauthorized Access of Protected Computer, Conspiracy
         See Affidavit for add'I
            The application is based on these facts:
         See attached Affidavit.


            ~ Continued on the attached sheet.
            0 Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
              under 18 U.S.C. § 3103a, the basis of which is set forth on ~


            Reviewed by AUSA/SAUSA:                                                              Applicam's signature

            !Aaron Zelinsky (ASC)                                                        Andrew Mitchell, Special Agent, FBI
                                                                                                 Printed name and title

 Sworn to before me and signed in my presence.


 Date:
                                                                                                   .Judge 's signature

 City and state: Washington, D.C.                                                 Hon. Beryl A. Howell, Chief U.S. District Judge
                                                                                                 Printed name and litle
  Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 134 of 189


                                                                                             ]: i,'
                                                                                          AUG - 3 2018
                                                                                  Clerk, U.S. ()istrlc:t & Bunkruptc}'
                                                                                 Courts tor the District of Columbia
                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

lN THE MATTER OF THE SEARCH OF                        Case: 1: 18-sc-02583
INFORMATION AS SOCIATED WITH                          Assigned To : Howell, Beryl A.
THREE ACCOUNTS STORED AT                              Assign . Date : 8/3/2018 .
PREMISES CONTROLLED BY                                Descript ion: Search & Seizure Warrant
MICROSOFT, GOOGLE, AND APPLE

                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, Andrew Mitchell, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application for a search warrant for

information associated with the following:

       a. The email accoun                             (hereafter "Target Account 1), that is

stored at premises owned, maintained, controlled, or operated by Microsoft, Inc., a business with

offices located at One Microsoft Way, Redmond, Washington, 98052. The information to be

disclosed by Microsoft and searched by the government is described in the following paragraphs

and in Attachments A and B.

       b. The email accoun                           (hereafter "Target Account 2"), that is

stored at premises owned, maintained, controlled, or operated by Google, Inc., a business with

offices located at 1600 Amphitheatre Parkway, Mountain View, California, 94043. The

information to be disclosed by Google and searched by the government is described in the

following paragraphs and in Attachments C and D.

       c. The iCloud account                          associated with the Apple email account

                        (hereafter "Target Account 3"), that is stored at premises owned,
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 135 of 189




maintained, controlled, or operated by Apple, Inc., a business with offices located at I Infinite

Loop, Cupertino, California 95014. The information to be disclosed by Apple and searched by

the government is described in the following paragraphs and in Attachment E and F.

        2.       I, Andrew Mitchell, am a Special Agent with the Federal Bureau of Investigation

(FBI), and have been since 2011. As a Special Agent of the FBI, I have received training and

experience in investigating criminal and national security matters.

       3.        The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

       4.        Based on my training and experience and the facts as set forth in this affidavit,

there is probable cause to believe that the Target Accounts contain communications relevant to

18 U.S.C. § 2 (aiding and abetting), 18 U.S.C. § 3 (accessory after the fact), 18 U.S.C. § 4

(misprision of a felony), 18 U.S.C. § 371 (conspiracy), 18 U.S.C. § 1001 (false statements), 18

U.S.C. § J 030 (unauthorized access of a protected computer); 18 U.S.C. §§ 1505 and 1512

(obstruction of justice), 18 U.S.C. § 1513 (witness tampering); 18 U.S.C. § 1343 (wire fraud), 18

U.S.C. § 1349 (attempt and conspiracy to commit wire fraud), and 52 U.S.C. § 30121 (foreign

contribution ban) (the "Subject Offenses").

       5.        On September 11, 2017, Chief Judge Beryl A. Howell of the District of Columbia

issued a search warrant for Roger STONE'                address,                           (Target

Account 1). On October 17, 2017, Chief Judge Howell issued a search warrant for STONE's

      address,                           (Target Account 2). On or about March 14, 2018, Chief

Judge Howell issued a search warrant for STONE's iCloud account (Target Account 3). This

                                                  2
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 136 of 189




warrant seeks to search those accounts from the date each respective warrant was issued to the

present.

                                          JURISDICTION

        6.     This Court has jurisdiction to issue the requested warrant because it is "a court of

competentjurisdiction" as defined by 18 U.S.C. § 2711. Id.§§ 2703(a), (b)(l)(A), & (c)(l)(A).

Specifically, the Court is "a district court of the United States (including a magistrate judge of

such a court) ... that has jurisdiction over the offense being investigated." 18 U.S.C.

§ 27I 1(3)(A)(i). The offense conduct included activities in Washington, D.C., as detailed below,

including in paragraphs 14, 19, and 61.

                                           SUMMARY

       7.      This application seeks authority to search, from the date of search warrants

previously issued by the Court to the present, three accounts believed to be used by Roger

STONE: Target Account 1, which is STONE's Hotmail account; Target Account 2, which is

STONE's Gmail account; and Target Account 3, which is STONE's iCloud account. As set
                            "
forth herein, there is probable cause to believe that each of the Subject Accounts contains

evidence of the Subject Offenses, including ongoing efforts to obstruct justice, tamper with

witnesses, and make false statements.

       8.      For example, as set forth in more detail below, in recent months STONE has

reached out to communicate with multiple witnesses he knew or had reason to believe were

scheduled to testify before Congress about interactions with STONE during the 2016 presidential

campaign or were scheduled to meet with the Special Counsel's Office

                                           . After STONE learned that one witness, Randy

CREDICO, was prepared to contradict STONE's congressional testimony, STONE repeatedly

                                                 3
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 137 of 189




 urged CREDICO to assert the Fifth Amendment and decline to answer questions, and did so

through multiple text messages. In June 2018, STONE instructed his private investigator to

provide him with a full background investigation on another witness                        who had

done information technology work for STONE during the campaign and



        9.      In September 2017, STONE released a statement he said he provided to Congress

in which he denied having advance knowledge of "the source or actual content of the Wikileaks

disclosures regarding Hillary Clinton." He also stated publicly that when he tweeted during the

campaign, on August 21, 2016, "it will soon the Podesta's time in the barrel," he was not

referring to the hacking or publication of John Podesta's emails, but rather. to "Podesta's business

dealings with Russia." Evidence obtained in the investigation, however, shows the following:

                a.     On or about July 25, 2016, Roger STONE emailed Jerome CORSI to "Get

to Assange" at the Ecuadorian Embassy and "get pending WikiLeaks emails[.]" Julian

ASSANGE is the founder ofWikiLeaks. On or about July 31, 2016, STONE also instructed

CORSI to have                           contact ASSANGE. On or about August 2, 2016, CORSI

responded to STONE that the "[w]ord is friend in embassy plans 2 more dumps. One shortly

after I'm back. 2nd in Oct. Impact planned to be very damaging .... Time to let more than

Podesta to be exposed as in bed w enemy if they are not ready to drop HRC." After receipt of

that message, on or about August 21, 2016, using@RogerJStoneJR, STONE tweeted: "Trust me,

it will soon the Podesta's time in the barrel. #CrookedHillary."

               b.      Information disclosures subsequently occurred on or about the times

CORSI predicted: On or about August 12, 2016, the day CORSI was scheduled to return to the

United States ("shortly after I'm back"), Guccifer 2.0 released hacked information related to the

                                                 4
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 138 of 189




Democratic Congressional Campaign Committee (DCCC). On or about October 7, 2016, the day

the Washington Post published a breaking story about an Access Hollywood videotape ofthen-

candidate Trump making disparaging remarks about women, WikiLeaks released emails hacked

from the account of John Podesta.

               c.      Furthermore, on the day of the Access Hollywood video disclosure, there

were phone calls between STONE and CORSI after the Washington Post contacted STONE

prior to publication. At approximately 11 :OOAM, the Washington Post received a tip regarding

the Access Hollywood video. Approximately one hour later, shortly before noon, STONE

received a call from the Washington Post. Approximately ninety minutes later, before 2:00PM,

STONE called CORSI and they spoke. Approximately forty minutes later, CORSI called

STONE and the two spoke again at length. At approximately 4:00PM, the Washington Post

published its story regarding the Access Hollywood tape. By approximately 4:30PM, WikiLeaks

tweeted out its first release of emails hacked from John Podesta.




                                                5
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 139 of 189




                                     PROBABLE CAUSE.

    A. Background on Relevant Individuals

                   i. Roger STONE

        10.    Roger STONE is a self-employed political strategist/consultant and has been

actively involved in U.S. politics for decades. STONE worked on the presidential campaign of

Donald J. Trump (the "Campaign") until August 2015. Although Stone had no official

relationship with the Campaign thereafter, STONE maintained his support for Trump and

continued to make media appearances in support of the Campaign. As described further below,

STONE also maintained contact with individuals employed by the Campaign, including then-

campaign chairman Paul MANAFORT and deputy chairman Rick GATES.

                  ii. Jerome CORSI

       11.    Jerome CORSI is a political commentator who, according to publicly available

information, currently serves as the "Washington Bureau Chief for Inforwars.com." According

to publicly-available sources, from 2014 until January 2017, CORSI was a "senior staff reporter"

for the website "World Net Daily" a/k/a "WND.com." CORSI has also written a number of

books regarding Democratic presidential candidates. As described further below, CORSI was in

contact with STONE during the summer and fall of2016 regarding forthcoming disclosures of

hacked information by WikiLeaks, and appears to have obtained information regarding

upcoming disclosures which he relayed to STONE.




                                               6
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 140 of 189




    B. U.S. Intelligence Community Assessment of Russian Government-Backed Hacking
       Activity during the 2016 Presidential Election

       13.     On October 7, 2016, the U.S. Department of Homeland Security and the Office of

the Director of National Intelligence released a joint statement of an intelligence assessment of

Russian activities and intentions during the 2016 presidential election. In the report, the USIC

assessed the following:

               a.     The U.S. Intelligence Community ("USIC") is confident that the Russian

Government directed the recent compromises of emails from US persons and institutions,

including from US political organizations. The recent disclosures of alleged hacked emails on

sites like DCLeaks.com and WikiLeaks and by the Guccifer 2.0 online persona are consistent

with the methods and motivations of Russian-directed efforts. These thefts and disclosures were


                                                 7
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 141 of 189




intended to interfere with the U.S. election process. Such activity is not new to Moscow-the

Russians have used similar tactics and techniques across Europe and Eurasia, for example, to

influence public opinion there. We believe, based on the scope and sensitivity of these efforts,

that only Russia's senior-most officials could have authorized these activities.

        14.    On January 6, 2017, the USIC released a declassified version of an intelligence

assessment of Russian activities and intentions during the 2016 presidential election entitled,

"Assessing Russian Activities and Intentions in Recent US Elections." In the report, the USIC

assessed the following:

               a.      "Russian President Vladimir Putin ordered an influence campaign in 2016

aimed at the US presidential election. Russia's goals were to undermine public faith in the US

democratic process, denigrate [former] Secretary [of State Hillary] Clinton, and harm her

electability and.potential presidency. We further assess Putin and the Russian Government

developed a clear preference for President-elect Trump."

               b.      The USIC also described, at a high level, some of the techniques that the

Russian government employed during its interference. The USIC summarized the efforts as a

"Russian messaging strategy that blends covert intelligence operations-such as cyber activity-

with overt efforts by Russian Government agencies, state-funded media, third-party

intermediaries, and paid social media users or 'trolls.'"

               c.      With respect to "cyber activity," the USIC assessed that "Russia's

intelligence services conducted cyber operations against targets associated with the 2016 US

presidential election, including targets associated with both major US political parties." Further,

"[i]n July 2015, Russian intelligence gained access to Democratic National Committee (DNC)

networks and maintained that access until at least June 2016." The USIC attributed these cyber

                                                 8
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 142 of 189




activities to the Russian GRU, also known as the Main Intelligence Directorate: "GRU

operations resulted in the compromise of the personal e-mail accounts of Democratic Party

officials and political figures. By May, the GRU had exfiltrated large volumes of data from the

DNC." The GRU is the foreign military intelligence agency of the Russian Ministry of Defense,

and is Russia's largest foreign intelligence agency.

                  d.     With respect to the release of stolen materials, the USIC assessed "with

high confidence that the GRU used the Guccifer 2.0 persona, DCLeaks.com, and WikiLeaks to

release US victim data obtained in cyber operations publicly and in exclusives to media outlets."

                  e.     Guccifer 2.0, who claimed to be an independent Romanian hacker, made

multiple contradictory statements and false claims about his identity throughout the election.

   C. Additional Hacking Activity by Individuals Associated with the GRU

       15.        The Special Counsel's Office has determined that individuals associated with the

GRU continued to engage in hacking activity related to the 2016 campaign through at least

November 1, 2016.

       16.     For example, in or around September 2016, these individuals successfully gained

access to DNC computers housed on a third-party cloud-computing service. In or around late

September, these individuals stole data from these cloud-based computers by creating backups of

the DNC's cloud-based systems using the cloud provider's own technology. The individuals

used three new accounts with the same cloud computing service to move the."snapshots" to

those accounts.

       17.     On or about September 4, 2016, individuals associated with the GRU stole the

emails from a former White House advisor who was then advising the Clinton Campaign. These

emails were later posted on DCLeaks.

                                                  9
    Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 143 of 189




          18.      On or about November I, 2016, individuals associated with the GRU

spearphished over 100 accounts used by organizations and personnel involved in administering

elections in numerous Florida counties.

          19.      On or about July 13, 2018, a grand jury in this District indicted eleven GRU

officers for knowingly and intentionally conspiring to hack into the computers of U.S. persons

and entities involved in the 2016 U.S. presidential election, steal documents from those

computers, and stage releases of stolen documents in order to interfere with the election. The

victims of the hacking and releases included the DNC, the Democratic Congressional Campaign

Committee ("DCCC"), and the chairman of the Clinton campaign (John Podesta). See United

States v. Viktor Borisovich Netyksho, et al. (1: 18-cr-215) (D.D.C.). 1

     D. Roger STONE's Public Interactions with Guccifer 2.0 and WikiLeaks

         20.      On June 14, 2016, Crowdstrike, the forensic firm that sought to remediate an

unauthorized intrusion into the computer systems of the DNC, publicly attributed the hack to

Russian government actors. The media reported on the announcement. On June 15, 2016, the

persona Guccifer 2.0 appeared and publicly claimed responsibility for the DNC hack. It stated

on its WordPress blog that, with respect to the documents stolen from the DNC, "[t]he main part

of the papers, thousands of files and mails, I gave to Wikileaks. They will publish them soon."

In that post, Guccifer 2.0 also began releasing hacked DNC documents.

         21.      On July 22, 2016, WikiLeaks published approximately 20,000 emails stolen from

theDNC.



1
 A twelfth defendant was charged with conspiring to infiltrate computers of organizations responsible for
administering elections, including state boards of election, secretaries of state, and companies that supply software
and other technology used to administer elections.

                                                          10
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 144 of 189




        22.    On August 5, 2016, STONE published an article on Breitbart.com entitled, "Dear

Hillary: DNC Hack Solved, So Now Stop Blaming Russia." The article stated: "It doesn't seem

to be the Russians that hacked the DNC, but instead a hacker who goes by the name of Guccifer

2.0." The article contained embedded publicly available Tweets from Guccifer 2.0 in the article

and stated: "Here's Guccifer 2.0's website. Have a look and you'll see he explains who he is and

why he did the hack of the DNC." The article also stated: "Guccifer 2.0 made a fateful and wise

decision. He went to WikiLeaks with the DNC files and the rest is history. Now the world

would see for themselves how the Democrats had rigged the game."

       23.     On August 8, 2016, STONE addressed the Southwest Broward Republican

Organization. During his speech, he was asked about a statement by AS SAN GE to Russia

Today (RT) several days earlier about an upcoming "October Surprise" aimed at the Hillary

Clinton presidential campaign. Specifically, STONE was asked: "With regard to the October

surprise, what would be your forecast on that given what Julian Assange has intimated he's

going to do?" STONE responded: "Well, it could be any number of things. I actually have

communicated with Assange. I believe the next tranche of his documents pertain to the Clinton

Foundation but there's no telling what the October surprise may be." A few days later, STONE

clarified that while he was not personally in touch with ASSANGE, he had a close friend who

served as an intermediary.

       24.     On August 12, 2016, Guccifer 2.0 publicly tweeted: "@RogerJStoneJr thanks that

u believe in the real #Guccifer2." That same day, Guccifer 2.0 released the personal cellphone

numbers and email addresses from the files of the DCCC.

       25.    On August 13, 2016, Stone posted a tweet using @RogerJStoneJr calling Guccifer

2.0 a "HERO" after Guccifer 2.0 had been banned from Twitter. The next day, Guccifer 2.0's

                                               11
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 145 of 189




Twitter account was reinstated.

        26.     On August 17, 2016, Guccifer 2.0 publicly tweeted, "@RogerJStoneJ r paying you

back." Guccifer also sent a private message to @RogerJStoneJr stating "i'm pleased to say u r

great man. please tell me if I can help u anyhow. it would be a great pleasure to me."

        27.     On August 18, 2016, Paul Manafort, STONE's longtime friend and associate,

resigned as Chairman of the Trump Campaign.

        28.     As noted above, on August 21, 2016, using @RogerJStoneJR, STONE tweeted:

"Trust me, it will soon the [sic] Podesta's time in the barrel. #CrookedHillary." In a C-SPAN

interview that same day, STONE reiterated that because of the work of a '"mutual acquaintance'

of both his and [ASSANGE], the public [could] expect to see much more from the exiled

whistleblower in the form of strategically-dumped Clinton email batches." He added: "Well,

first of all, I think Julian Assange is a hero ... I think he's taking on the deep state, both

Republican and Democrat. I believe that he is in possession of all of those emails that Huma

Abedin and Cheryl Mills, the Clinton aides, believe they deleted. That and a lot more. These are

like the Watergate tapes."

       29.      On September 16, 2016, STONE said in a radio interview with Boston Herald

Radio that he expected WikiLeaks to "drop a payload of new documents on Hillary on a weekly

basis fairly soon. And that of course will answer the question as to what exactly what was erased

on that email server."

       30.     On Saturday, October 1, 2016, using @RogerJStoneJr, STONE tweeted,

"Wednesday @HillaryClinton is done. #WikiLeaks."

       31.     On Sunday, October 2, 2016, MSNBC Morning Joe producer Jesse Rodriquez

tweeted regarding an announcement ASSANGE had scheduled for the next day from the balcony

                                                   12
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 146 of 189




of the Ecuadoran Embassy in London. On the day of the ASSANGE announcement -which was

part of WikiLeaks' 10-year anniversary celebration - STONE told Info wars that his intennediary

described this release as the "mother load." On October 5, 2016, STONE used @RogerJStoneJr

to tweet: "Payload coming. #Lockthemup."

        32.    On Friday, October 7, 2016, at approximately 4:03 PM, the Washington Post

published an article containing a recorded conversation from a 2005 Access Hollywood shoot in

which Mr. Trump had made a series of lewd remarks.

       33.     Approximately a half hour later, at 4:32 PM, WikiLeaks sent a Tweet reading

"RELEASE: The Podesta Emails #HillaryClinton #Podesta #im WithHer" and containing a link

to approximately 2,050 emails that had been hacked from John Podesta's personal email account.

       34.     WikiLeaks continued to release John Podesta's hacked emails through Election

Day, November 8, 2016. On October 12, 2016, Podesta- referring back to STONE's August 21,

2016 C-SPAN and Twitter references - argued publicly that "[it is] a reasonable assumption to -

or at least a reasonable conclusion - that [STONE] had advanced warning [of the release of his

emails] and the Trump campaign had advanced warning about what Assange was going to do. I

think there's at least a reasonable belief that [Assange] may have passed this information on to

[STONE]." Commenting to the NBC News, STONE indicated that he had never met or spoken

with Assange, saying that "we have a mutual friend who's traveled to London several times, and

everything I know is through that channel of communications. I'm not implying I have any

influence with him or that I have advanced knowledge of the specifics of what he is going to do.

I do believe he has all of the e-mails that Huma Abedin and Cheryl Mills, the Clinton aides,

thought were deleted. I hear that through my emissary."

       35.     On March 27, 2017, CNN reported that a representative of WikiLeaks, writing

                                                13
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 147 of 189




from an email address associated with WikiLeaks, denied that there was any backchannel

communication during the Campaign between STONE and WikiLeaks. The same article quoted

STONE as stating: "S\nce I never communicated with WikiLeaks, I guess I must be innocent of

charges I knew about the hacking of Podesta's email (speculation and conjecture) and the timing

or scope of their subsequent disclosures. So I am clairvoyant or just a good guesser because the

limited things I did predict (Oct disclosures) all came true."

    E. STONE's Private Twitter Direct Messages with WikiLeaks and ASSANGE

        36.    On August 7, 2017, Chief Judge Beryl A. Howell issued a search warrant for the

Twitter account @RogerJStoneJr. Information recovered from the search of that account

includes the following:

               a.      On October 13, 2016, while WikiLeaks was in the midst ofreleasing the

hacked Podesta emails, @RogerJStoneJr sent a private direct message to the Twitter account

@wikileaks. This account is the official Twitter account of WikiLeaks and has been described as

such by numerous news reports. The message read: "Since I was all over national TV, cable and

print defending WikiLeaks and assange against the claim that you are Russian agents and

debunking the false charges of sexual assault as trumped up bs you may want to rexamine the

strategy of attacking me- cordially R."

               b.     Less than an hour later, @wikileaks responded by direct message: "We

appreciate that. However, the false claims of association are being used by the democrats to

undermine the impact of our publications. Don't go there if you don't want us to correct you."

               c.     On or about October 15, 2016, @RogerJStoneJr sent a direct message to

@wikileaks: "Ha! The more you \"correct\" me the more people think you're lying. Your

operation leaks like a sieve. You need to figure out who your friends are."

                                                 14
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 148 of 189




                d.     On or about November 9, 2016, one day after the presidential election,

@wikileaks sent a direct message to @RogerJStoneJr containing a single word: "Happy?"

@wikileaks immediately followed up with another message less than a minute later: "We are

now more free to communicate."

               e.      In addition, @RogerJStoneJr also exchanged direct messages with

ASSANGE. For example, on June 4, 2017, @RogerJStoneJr directly messaged

@JulianAssange, an address associated with ASSANGE in numerous public reports, stating:

"Still nonsense. As a journalist it doesn't matter where you get information only that it is

accurate and authentic. The New York Times printed the Pentagon Papers which were

indisputably stolen from the government and the courts ruled it was legal to do so and refused to

issue an order restraining the paper from publishing additional articles. If the US government

moves on you I will bring down the entire house of cards. With the trumped-up sexual assault

charges dropped I don't know of any crime you need to be pardoned for - best regards. R." That

same day, @JulianAssange responded: "Between CIA and DoJ they're doing quite a lot. On the

DoJ side that's coming most strongly from those obsessed with taking down Trump trying to

squeeze us into a deal."

               f.      On Saturday, June 10, 2017, @RogerJStoneJr sent a direct message to

@JulianAssange, reading: "I am doing everything possible to address the issues at the highest

level of Government. Fed treatment of you and WikiLeaks is an outrage. Must be circumspect in

this forum as experience demonstrates it is monitored. Best regards R."




                                                15
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 149 of 189




    F. STONE's Communications with STONE                            , and Others Regarding
       Forthcoming Leaks

        37.     As indicated above, on September 11, 2017, Chief Judge Howell issued a search

warrant for STONE's             address,                           (Target Account 1); on

October 17, 2017, Chief Judge Howell issued a search warrant for STONE'             address,

                        (Target Account 2); and on or about March 14, 2018, Chief Judge

Howell issued a search warrant for STONE's iCloud account (Target Account 3). In addition,

on or about December 19, 2017, Chief Judge Howell issued a search warrant for

email account. Information recovered pursuant to those search warrants includes the following:

               a.      On or about May 15, 2016,                 emailed CORSI: "Here is my

flight schedule. Need to get something confirmed now .... " CORSI responded, ."! copied

Roger Stone so he knows your availability to meet Manafort and DT this coming week." CORSI

appears to have forwarded the message to STONE at Target Account 1, who replied to CORSI

that, "May meet Manafort -guarantee nothing."

               b.      On or about May 18, 2016, CORSI emailed STONE at Target Account 1

with the title, "Roger -- why don't you look this over before I send it            I believe that

                                                                                 CORSI wrote,

                        and I did manage to see Mr. Trump for a few minutes today as we were

waiting in Trump Tower to say hello to Mike Cohen. Mr. Trump recognized us immediately and

was very cordial. He would look for this memo from you this afternoon."

               c.      On July 25, 2016, STONE, using Target Account 1, sent an email to

CORSI with the subject line, "Get to Assange." The body of the message read: "Get to Assange




                                                 16
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 150 of 189




 [a]t Ecuadorian Embassy in London and get the pending WikiLeaks emails ... they deal with

 Foundation, allegedly."

                d.      On or about July 31, 2016, STONE, using Target Account 1, emailed

CORSI with the subject line, "Call me MON." The body of the email read:                 should see

Assange[.]            should find Bernie [S]anders brother who called Bill a Rapist- tum him for

Trump[.]             should fin                 e or more proof of Bill getting kicked out."

               e.       As noted above, on or about August 2, 2016 (approximately 19 days

before STONE publicly tweeted about "Podesta's time in the barrel"), CORSI emailed STONE

at Target Account 1: "Word is friend in embassy plans 2 more dumps. One shortly after I'm

back. 2nd in Oct. Impact planned to be very damaging." The email continued: "Signs are Fox

will have me on mid-Aug. more post Ailes shakeup underway. Expect Shine to surface victor,

for now. Post-DNC bump for HR.Can artifact ofrigged polling. Won't last. I expect

presidential campaign to get serious starting Sept. Still in pre-season games. Time to let more

than Podesta to be exposed as in bed w enemy if they are not ready to drop HRC. That appears

to be the game hackers are now about. Would not hurt to start suggesting HRC old, memory

bad, has stroke -- neither he nor she well. I expect that much of next dump focus, setting stage

for Foundation debacle." Investigators believe that CORSI's reference to a "friend in embassy

[who] plans 2 more dumps" refers to ASSANGE, who resided in Ecuador's London Embassy in

2016.

               f.      On or about August 5, 2016,                     an associate of STONE's,

emailed Stone at Target Account 1. The email contained a link to a poll indicating that Clinton

led Trump by 15 points. STONE responded, "enjoy it while u can[.] I dined with my new pal

Julian Assange last night."              subsequently stated to investigators that, around the

                                                17
  Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 151 of 189




same time, STONE told him he had gone to London to meet ASSANGE                          also stated

that in 2018                told STONE he would be interviewed by the FBI and would have to

divulge the conversation about meeting AS SAN GE. STONE tol                      he was joking and

had not actually met ASSANGE. 2

                g.     On or about August 15, 2016, CORSI emailed STONE at Target Account

1: "Give me a call today if you can. Despite MSM drumroll that HRC is already elected, it's not

over yet. More to come than anyone realizes. Won't really get started until after Labor Day. I'm

in NYC this week. Jerry."

               h.     On or about August 31, 2016, CORSI emailed STONE at Target Account

1: "Did you get the PODESTA writeup." STONE replied "[y]es."

               1.     On or about August 31, 2016, CORSI messaged STONE at Target

Account 3, "Podesta paid $ l 80k to invest in Uranium One - was hired by Rosatom in Giustra

scandal. Podesta now under FBI investigation - tied to Ukraine Y anukovych - Panama papers

reveals Podesta hired by S[b]erbank, Russia's largest financial institution - Podesta$$$ ties to

Russia undermine Clinton false narrative attempting to tie Trump to Putin."

               J.     On or about September 6, 2016, CORSI emailed STONE at Target

Account 1: "Roger[,] Is NY Post going to use the Pedesta [sic] stuff?"

               k.     On or about September 24, 2016,                 emailed CORSI, "I will

have much more on Turkey. Need a back channel highly sensitive stuff." CORSI responded,




                                                18
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 152 of 189




"We have secure back channel through Roger. I saw him again in NYC last Friday and spoke to

him about it again today."                wrote back, "Awaiting secret file. Explosive ... Hope you

are well. Can't wait for the debate. Channeling Reagan, I hope!" CORSI responded, "Keep me

posted about file[.]" In a subsequent meeting with investigators,                indicated this

conversation concerned possible derogatory information he was trying to obtain from Turkey.

               I.      On or about October 3, 2016, an associate of STONE emailed STONE at

Target Account 2 and asked: "Assange -what's he got? Hope it's good." STONE wrote back,

"It is. I'd tell Bannon but he doesn't call me back. My book on the TRUMP campaign will be

out in Jan. Many scores will be settled." The associate forwarded the email to Steve BANNON,

who was CEO of the Campaign at the time, and wrote: "You should call Roger. See below. You

didn't get from me." BANNON wrote back, "I've got important stuff to worry about." The

associate responded, "Well clearly he knows what Assange has. I'd say that's important."

               m.      On or about October 4, 2016, ASS ANGE gave a press conference at the

Ecuadorian Embassy. There had been speculation in the press leading up to that event that

AS SAN GE would release information damaging to then-candidate Clinton, but WikiLeaks did

not make any new releases. Instead, ASSANGE promised more documents, including

information "affecting three powerful organizations in three different states, as well as, of course,

information previously referred to about the U.S. election process." ASSANGE also stated that

WikiLeaks would publish documents on various subjects every week for the next ten weeks, and

vowed that the U.S. election-related documents would all come out before Election Day.

               n.      On or about October 4, 2016, CORSI messaged STONE at Target

Account 3, "Assange made a fool of himself. Has nothing or he would have released it. Total

BS hype."

                                                 19
      Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 153 of 189




                  o.       That same day, BANNON emailed STONE at Target Account 2, "What

    was that this morning???" STONE replied, "Fear. Serious security concern. He thinks they are

    going to kill him and the London police are standing done [sic]." BANNON wrote back, "He

    didn't cut deal w/ clintons???" STONE replied, "Don't think so BUT his lawye                         is a

big democrat."

                  p.      When BANNON spoke with investigators during a voluntary interview on

February 14, 2018, he initially denied knowing whether the October 4, 2016 email to STONE

was about WikiLeaks. Upon further questioning, BANNON acknowledged that he was asking

STONE about WikiLeaks, because he had heard that STONE had a channel to ASSANGE, and

BANNON had b~en hoping for releases of damaging information that morning.

       G. STONE and CORSI Communications on October 7, 2016, when the Podesta Emails
          Are Released

          38.    According to a publicly available news article, 3 at approximately 11AM on

Friday, October 7, 2016, Washington Post reporter David Fahrenthold rece_ived a phone call from

a source regarding a previously unaired video of candidate Trump. According to the same

article, "Fahrenthold didn't hesitate. Within a few moments of watching an outtake of footage

from a 2005 segment on 'Access Hollywood,' the Washington Post reporter was on the phone,

calling Trump's campaign, 'Access Hollywood' and NBC for reaction."

          39.    According to phone record                                              , at approximately

11 :27 AM, CORSI placed a ca.JI to STONE which STONE did not answer.




3
 https://www.washingtonpost.com/lifestyle/style/the-caller-had-a-lewd-tape-of-donald-trump-then-the-race-was-
on/2016/10/07/3 ld74 7l 4-8ce5- l l e6-875e-2cl bfe943b66_story.html

                                                       20
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 154 of 189




        40.    At approximately 11 :53AM, STONE received a phone call from the Washington

Post. The call lasted approximately twenty minutes.

        41.    At approximately 1 :42PM, STONE called CORSI and the two spoke for

approximately seventeen minutes.

        42.    At approximately 2: 18PM, CORSI called STONE and the two spoke for

approximately twenty minutes.

        43.    At approximately 4:00PM, the Washington Post published a story regarding the

Access Hollywood tape.

        44.    At approximately 4:30PM, WikiLeaks tweeted out its first release of emails

hacked from John Podesta that focused primarily on materials related to the Clinton Foundation.

On or about August 2, 2016, CORSI emailed STONE on Target Account 1, "I expect that much

of next dump focus, setting stage for Foundation debacle."

       45.     At approximately 6:27PM,                      an author who has written about the

Clinton Foundation, and who, according to emails and phone records, regularly communicates

with STONE, sent STONE an email titled, "WikiLeaks -The Podesta Emails," with a link to the

newly-released Podesta emails. Approximately ten minutes later, STONE, using Target

Account 2, forwarded             message to CORSI without comment. STONE does not appear

to have forwarded the email to any other individual.


   H. STONE Asks CORSI for "SOMETHING" to Post About Podesta After STONE Is
      Accused of Advance Knowledge of the Leak

       46.     On or about October 8, 2016, STONE, using Target Account 3, messaged

CORSI, "Lunch postponed- have to go see T." CORSI responded to STONE, "Ok. I

understand." Approximately twenty minutes later, CORSI texted, "Clintons know they will lose

                                               21
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 155 of 189




a week of Paula Jones media with T attacking Foundation, using Wikileaks Goldman Sachs

speech comments, attacking bad job numbers."

        47.    On or about Wednesday, October 12, 2016, at approximately 8:17AM, STONE,

using Target Account 2, emailed Corsi asking him to "send me your best podesta links."

STONE emailed CORSI at approximately 8:44AM, "need your BEST podesta pieces." CORSI

wrote back at approximately 8:54AM, "Ok. Monday. The remaining stuff on Podesta is

complicated. Two articles in length. I can give you in raw form the stuff I got in Russian

translated but to write it up so it's easy to understand will take weekend. Your choice?"

       48.     On or about that same day, October 12, 2016, Podesta accused STONE of having

advance knowledge of the publication of his emails, as noted above. At approximately 3:25PM,

CORSI emailed STONE at both Target Account 1 and 2 with the subject line "Podesta talking

points." Attached to the email was a file labeled, "ROGER STONE podesta talking points Oct

12 2016.docx." The "talking points" included the statement that "Podesta is at the heart of a

Russian-government money laundering operation that benefits financially Podesta personally and

the Clintons through the Clinton Foundation."

       49.     CORSI followed up several minutes later with another email titled, "Podesta

talking points," with the text "sent a second time just to be sure you got it." STONE emailed

CORSI back via Target Account 1: "Got them and used them."

       50.     On or about Thursday, October 13, 2016, CORSI emailed STONE at Target

Account 2: "PODESTA -- Joule & ties to RUSSIA MONEY LAUNDERING to CLINTON

FOUNDATION." STONE responded, "Nice but I was hoping for a piece I could post under my

by-line since I am the one under attack by Podesta and now Mook." CORSI wrote back to

STONE, "I'll give you one more -NOBODY YET HAS THIS[:] It looks to me like

                                                22
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 156 of 189




             skimmed maybe billions off Skolkovo -    Skolkovo kept their money with

Metcombank[.] The Russians launched a criminal investigation(.] [web link] Once

had the channel open from Metcombank to Deutsche Bank America to Ban[k] of America's

Clinton Fund account, there's no telling how much money he laundered, or where it ended up.

Nothing in Clinton Foundation audited financials or IRS Form 990s about$$$ received via

Russia & Metcombank[.] I'm working on that angle now." STONE replied, "Ok Give me

SOMETHING to post on Podesta since I have no.w promised it to a dozen MSM reporters[.]"

       51.     On or about Thursday, October 13, 2016, at approximately 6:30PM, CORSI sent

STONE an email at Target Account 2, with the subject, "ROGER STONE article RUSSIAN

MAFIA STYLE MONEY-LAUNDERING, the CLINTON FOUNDATION, and JOHN

PODESTA." The text stated: "Roger[,] You are free to publish this under your own name."

That same day, STONE posted a blog post with the title, "Russian Mafia money laundering, the

Clinton Foundation and John Podesta." In that post, STONE wrote, "although I have had some

back-channel communications with Wikileaks I had no advance notice about the hacking of Mr.

Podesta nor I have I ever received documents or data from Wikileaks." The post then asked,

"Just how much money did                     , a controversial Russian billionaire investor with

ties to the Vladimir Putin and the Russian government, launder through Metcombank, a Russian

regional bank owned 99.978 percent by              , with the money transferred via Deutsche

Bank and Trust Company Americas in New York City, with the money ending up in a private

bank account in the Bank of America that is operated by the Clinton Foundation?"

       52.    On or about October 14, 2016, CORSI sent a message to STONE at Target

Account 3, "I'm in NYC. Thinking about writing piece attacking Leer and other women. It's

basically a rewrite of what's out there. Going through new Wikileaks drop on Podesta."

                                              23
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 157 of 189




        53.        On or about October 17, 2016, CORSI messaged STONE at Target Account 3,

"On Assange, can you call me now - before 2pm[.]" STONE responded, "Missed u - just

landed JFK - on Infowars now." CORSI wrote back, "Call afterwards. Have some important

intel to share."

        54.        On or about October 17, 2016, CORSI emailed STONE at Target Accounts 1

and 2 with the subject, "Fwd: ASSANGE ... URGENT ... " CORSI wrote, "From a very trusted

source," and forwarded an email with the header information stripped out, showing only the

body text. The email read, "Yes[.J I figured this. Assange is threatening Kerry, Ecuador and

U.K. He will drop the goods on them if they move to extradite him. My guess is that he has a set

of dead man files that include Hillary. It's what they used to call a 'Mexican stand off[.]' Only

hope is that if Trump speaks out to save him[.] Otherwise he's dead anyway, once he's dropped

what he has. If HRC wins, Assange can kiss his life away. Interesting gambit Assange has to

play out. He's called Podesta's bluff and raised him the election."

        55.        On or about October 18, 2016, CORSI messaged STONE at Target Account 3,

"Pis call. Important."

       56.         On or about October 19, 2016, STONE published an article on Breitbart.com in

which he claimed he had "no advance notice of Wikileaks' hacking of Podesta's e-mails."

STONE stated, "I predicted that Podesta's business dealings would be exposed. I didn't hear it

from Wikileaks, although Julian Assange and I share a common friend. I reported the story on

my website." STONE linked to the story he had asked CORSI to write for him on October 13,

2016 discussed above.

       57.     On or about November 8, 2016, the United States presidential election took place.



                                                 24
  Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 158 of 189




       58.    On or about November 9, 2016, CORSI messaged STONE at Target Account 3,

"Congratulations, Roger. He could not have done it without you."

       59.    On or about November 10, 2016, CORSI messaged STONE at Target Account 3,

"Are you available to talk on phone?" Several minutes later, CORSI messaged, "I'm in London.

Have some interesting news for you."




                                             25
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 159 of 189




                                26
  Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 160 of 189




   J. STONE's Congressional Testimony and Public Statements About His Relationship
      with Wikileaks

       61.    On September 26, 2017, STONE testified before the House Permanent Select

Committee on Intelligence (HPSCI). Although the hearing was closed, STONE released to the

public what he said were his opening remarks to the committee. In them, STONE stated:

       Members of this Committee have made three basic assertions against me which must be
       rebutted here today. The charge that I knew in advance about, and predicted, the hacking
       of Clinton campaign chairman John Podesta's email, that I had advanced knowledge of
       the source or actual content of the WikiLeaks disclosures regarding Hillary Clinton or
       that, my now public exchange with a persona that our intelligence agencies claim, but
       cannot prove, is a Russian asset, is anything but innocuous and are entirely false. Again,
       such assertions are conjecture, supposition, projection, and allegations but none of them
       are facts ....

       My Tweet of August 21, 2016, in which I said, "Trust me, it will soon be the Podesta' s
       time in the barrel. #CrookedHillary" must be examined in context. I posted this at a time
       that my boyhood friend and colleague, Paul Manafort, had just resigned from the Trump
       campaign over allegations regarding his business activities in Ukraine. I thought it
       manifestly unfair that John Podesta not be held to the same standard. Note, that my
       Tweet of August 21, 2016, makes no mention, whatsoever, of Mr. Podesta's email, but
       does accurately predict that the Pode_sta brothers' business activities in Russia with the
       oligarchs around Putin, their uranium deal, their bank deal, and their Gazprom deal,
       would come under public scrutiny....

       [L]et me address the charge that I had advance knowledge of the timing, content and
       source of the WikiLeaks disclosures from the DNC. On June 12, 2016, WikiLeaks'
       publisher Julian Assange[] announced that he was in possession of Clinton DNC emails.

                                               27
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 161 of 189




        I learned this by reading it on Twitter. I asked a journalist who I knew had interviewed
        Assange to independently confirm this rep011, and he subsequently did. This journalist
        assured me that WikiLeaks would release this information in October and continued to
        assure me of this throughout the balance of August and all of September. This
        infotmation proved to be correct. I have referred publicly to this journalist as an,
        "intermediary", "go-between" and "mutual friend." All of these monikers are equally
        true.

        62.    In a document dated March 26, 2018 titled "Minority Views," Democratic

members of HP SCI published excerpts from Stone's September 2017 testimony before HPSCI.

Those excerpts include the following:

        Q: Have any of your employees, associates, or individuals acting on your behest or
        encouragement been in any type of contact with Julian Assange?
        MR. STONE: No.

       Q: So throughout the many months in which you represented you were either in_
       communication with Assange or communication through an intermediary with Assange,
       you were only referring to a single fact that you had confirmed with the intermediary -
       MR. STONE: That-
       Q: -- was the length and the breadth of what you were referring to?
       MR. STONE: That is c01Tect, even though it was repeated to me on numerous separate
       occasions.

       63.     In the month that followed his testimony before HPSCI, on or about October 24,

2017, STONE published an article on his website, stonecoldtruth.com, titled "Is it the Podesta's

Time in the Barrel Yet?" In that article, STONE stated: "[I]t was this inevitable scrutiny of the

Podestas' underhanded business dealings that my 'time in the barrel' referred to and not, as some

have quite falsely claimed, to the hacking and publication almost two months later of John

Podesta's emails .... [M]y tweet referred to Podesta's business dealings with Russia, and the

expectation that it would become a news story."

   K. STONE's Use of Target Account 3 to Message Randy CREDI CO about STONE's
      "Back channel"




                                                28
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 162 of 189




            64.   On November 19, 2017, Randy CREDI CO (who, as described further below,

STONE publicly identified as his "intermediary'' to ASSANGE), messaged STONE on Target

Account 3, "My lawyer wants to see me today." STONE responded, '"Stonewall it. Plead the

fifth. Anything to save the plan' ........ Richard Nixon[.]" CREDI CO responded, "Ha ha."

        65.       On or about November 21, 2017, CREDICO messaged STONE on Target

Account 3, "I was told that the house committee lawyer told my lawyer that I will be getting a

subpoena[.]" STONE wrote back, "That was the point at which your lawyers should have told

them you would assert your 5th Amendment rights if compelled to appear." They continued to

message, and CREDICO wrote, "My lawyer wants me to cut a deal." STONE wrote back, "To

do what ? Nothing happening in DC the day before Thanksgiving - why are u busting my

chops?'.'

        66.       On or about November 24, 2017, STONE, using Target Account 3, texted

CREDICO, "Assange is a journalist and a damn good one- meeting with him is perfectly legal

and all you ever told me was he had the goods [o]n Hillary and would publish them - which he

himself said in public b4 u told me. It's a fucking witchunt [sic]." CREDI CO replied, "I told

you to watch his tweets. That's what I was basing it on. I told you to watch his Tweets in

October not before that I knew nothing about the DNC stuff[.] I just followed his tweets[.]"

STONE responded, "U never said anything about the DNC but it was August." CREDICO

wrote back, "It was not August because I didn't interview him or meet him until August 26th[.]

That was my first communication with his secretary in London, August 26th." STONE wrote

back, "Not the way I remember it- oh well I guess Schiff will try to get one ofus indicted for

perjury[.]"



                                                29
     Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 163 of 189




           67.      STONE and CREDICO continued to exchange messages via Target Account 3,

and on November 24, 2017, CREDICO wrote to STONE, "Forensic evidence proves that there is

no back Channel. So now you can relax."

           68.      On or about November 28, 2017, CREDICO tweeted a copy of a subpoena he

received from HPSCI that was dated November 27, 2017. Toll records show that on November

27 and 28, 2017, CREDICO and STONE communicated via text message more than a dozen

times.

           69.      On November 29, 2017, STONE publicly stated that CREDICO was his

"intermediary." In a public Facebook post, STONE further stated that, "Credico merely[]

confirmed for Mr. Stone the accuracy of Julian Assange's interview of June 12, 2016 with the

British ITV network, where Assange said he had 'e-mails related to Hillary Clinton which are

pending publication,' ... Credico never said he knew or had any information as to source or

content of the material."

           70.     On or about December 1, 2017, CREDICO messaged STONE on Target

Account 3, stating, "I don't know why you had to lie and say you had a back Channel now I had

to give all of my forensic evidence to the FBI today what a headache[.] 4 You could have just told

him the truth that you didn't have a back Channel they now know that I was not in London until

September of this year[.] You had no back-channel and you could have just told the truth ...

You want me to cover you for pe1jury now[.]" STONE responded, "What the fuck is your

problem? Neither of us has done anything wrong or illegal. You got the best press of your life

and you can get away with asserting for 5th Amendment rights if u don't want talk about AND if



4
    Contrary to his statement, CREDICO has not provided any forensic evidence to the FBI.

                                                         30
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 164 of 189




you ·turned over anything to the FBI you're a fool." CREDICO responded, "You open yourself

up to six counts of perjury[.] But I'm sure that wasn't sworn testimony so you're probably

clear[.] Council for the committee knows you never had a back Channel and if you had just told

the truth wouldn't have put me in this bad spot ... you should go back ... and amend your

testimony and tell them the truth." CREDI CO repeated: "you need to amend your testimony

before I testify on the 15th." STONE replied, "If you testify you're a fool. Because of tromp

[sic] I could never get away with a certain [sic] my Fifth Amendment rights but you can. I

guarantee you you [sic] are the one who gets indicted for perjury if you're stupid enough to

testify(.]"

        71.    STONE and CREDICO continued to message each other on or about December 1,

2017. In response to STONE's message about being "stupid enough to testify," CREDICO told

STONE: "Whatever you want to say 1 have solid forensic evidence." STONE responded: "Get

yourself a real lawyer instead of some liberal wimp who doesn't know how to tell his guys to

fuck off good night." CREDICO then wrote: "Just tell them the truth and swallow your ego you

never had a back Channel particularly on June 12th(.]" STONE responded: "You got nothing."

        72.   On or about December 13, 2017, according to public reporting, CREDICO

indicated that he would not testify before HPSCI and would invoke his Fifth Amendment rights.

        73.   STONE and CREDICO continued to exchange messages via Target Account 3,

and on or about January 6, 2018, CREDICO indicated to STONE that he was having dinner with

a reporter. STONE responded, "Hope u don't fuck Up my efforts to get Assange a pardon[.]"

CREDICO messaged STONE, "I have the email from his chief of staff August 25th 2016

responding to an email I sent to WikiLeaks website email address asking you would do my

show[.] That was my initial contact."

                                               31
      Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 165 of 189




            74.     On or about January 8, 2018, CREDICO messaged STONE on Target Account 3

    stating: "Embassy logs ... + 17 other pieces of information prove that I did not have any

    conversations with Assange until September of last year."

            75.     CREDICO and STONE continued to message each other, and on or about January

25, 2018, CREDICO wrote to STONE on Target Account 3: "You lied to the house Intel

committee ... But you'll get off because you're friends with Trump so don't worry. I have all

the forensic evidence[.] I was not a ba[ck] Channel and I have all those emails from September

of 2016 to prove it[.]"

           76.      On or about April 13, 2018, news reports stated that CREDICO had shown

reporters copies of email messages he had received from STONE in the prior few days that

stated, "You are a rat. You are a stoolie. You backstab your friends -                run your mouth my

lawyers are dying Rip you to shreds." Another message stated, "I'm going to take that dog away

from you," referring to CREDICO's therapy dog. CREDICO stated that it was "cetiainly scary .

. . When you start bringing up my dog, you're crossing the line[.]" 5

           77.      On or about May 25, 2018, CREDICO provided additional messages he stated

were from STONE to another news agency. 6 In these messages, STONE, on April 9, 2018,

stated: "I am so ready. Let's get it on. Prepare to die[.]" In the article, CREDICO stated that he

considered this email from STONE a threat. STONE stated in the article that CREDICO "told

me he had terminal prostate cancer ... It was sent in response to that. We talked about it too.




5
 https://www.yahoo.com/news/comedian-randy-credico-says-trump-adviser-roger-stone-threatened-dog-
135911370.html

6
    https://www.motherjones.com/politics/2018/05/roger-stone-to-associate-prepare-to-die/

                                                         32
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 166 of 189




He was depressed about it. Or was he lying." The article noted that CREDTCO stated he did not

have prostate cancer and did not have any such discussion with STONE.

    L. STONE's Use of the Target Accounts to Communicate with Individuals Related to
       the Investigation

        78.       On May I 7, 2018, Chief Judge Howell issued an order for the use of pen-trap

devices on Target Account 1 and Target Account 2. The information obtained from that order,

along with information obtained from toll records, revealed that STONE has continued to use

Target Account 1 and Target Account 2, and that he has used them to communicate with

individuals related to the investigation.

        79.      For example, STONE and                 communicated twice on May 28 and May

29, 2018 using Target Account 1.                        , a former associate of STONE's, was

interviewed by the Special Counsel's Office on or about May 2, 2018. Toll records show that      '

              and STONE communicated multiple times on May 5, 2018, and STONE

communicated wit                 using Target Account 1 on June 1, 2018 and June 6, 2018.

                a private investigator who had previously worked with STONE and who was hired

by STONE to research individuals associated with this case (as described further below),

communicated with STONE on Target Account 1 at least four times between May 27, 2018 and

July 12,2018.

       80.       STONE has also used Target Account 2 to communicate with individuals

associated with this investigation.

                 a.     For example, between May 23, 2018 and the present, STONE and CORSI

exchanged at least five messages using Target Account 2. In the same time period, STONE

exchanged at least 75 emails with CREDICO using Target Account 2.


                                                 33
       Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 167 of 189

•


                     b.       Also in this same time period, STONE emailed                       at least

    ten times using Target Account 2.                 is a former employee of STONE. On May 9,

    2018, FBI agents approached                 and                                         That day,

    and again on May 10, 2018,                                          communicated by phone with

    STONE. Overall, between May 23, 2018 and the present, STONE exchanged over 100 emails

    with                  using Target Account 2. In addition, between on or about June 14, 2018 and

    June 17, 2018,               and STONE exchanged five emails using Target Account 2.




            81.      STONE has also used a phone number associated with Target Account 3 to

    communicate with                   , a private investigator hired by STONE.                was

    interviewed by investigators on June 7, 2018, and subsequently informed investigators that in

    June 2018, STONE instructed him to conduct a full background investigation on

            who had been employed by STONE during the Campaign as an information technology

    specialist.

                               also told investigators that in June 2018, STONE instructed him to find

    an address for CREDICO that could be used to serve CREDICO with legal process.

                  told investigators that his primary fmm of communication with STONE is by text

    message on Target Account 3.


                                 BACKGROUND CONCERNING EMAIL

            82.      In my training and experience, I have learned the Providers provide a variety of

    on-line services, including electronic mail ("email") to the public. The Providers allow


                                                       34
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 168 of 189




 subscribers to obtain email accounts at the domain names identified in the email address

contained in Attachment A and C. Subscribers obtain an account by r~gistering with the

Providers. During the registration process, the Providers ask subscribers to provide basic

personal information. Therefore, the computers of the Providers are likely to contain stored

electronic communications (including retrieved and unretrieved email) for their subscribers and

information concerning subscribers and their use of services, such as account access information,

email transaction information, and account application information. In my training and

experience, such information may constitute evidence of the crimes under investigation because

the information can be used to identify the account's user or users.

        83.     In my training and experience, email Providers generally ask their subscribers to

provide certain personal identifying information when registering for an email account. Such

information can include the subscriber's full name, physical address, telephone numbers and

other identifiers, alternative email addresses, and, for paying subscribers, means and source of

payment (including any credit or bank account number). In my training and experience, such

information may constitute evidence of the crimes under investigation because the information

can be used to identify the account's user or users. Based on my training and my experience, I

know that, even if subscribers insert false information to conceal their identity, this information

often provides clues to their identity, location, or illicit activities.

        84.     In my training and experience, email Providers typically retain certain

transactional information about the creation and use of each account on their systems. This

information can include the date on which the account was created, the length of service, records

of log-in (i.e., session) times and durations, the types of service utilized, the status of the account

(including whether the account is inactive or closed), the methods used to connect to the account

                                                    35
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 169 of 189




(such as logging into the account via the Providers' website), and other log files that reflect

usage of the account. In addition, email Providers often have records of the Internet Protocol

address ("IP address") used to register the account and the IP addresses associated with particular

logins to the account. Because every device that connects to the Internet must use an IP address,

IP address information can help to identify which computers or other devices were used to access

the email account.

        85.    In my training and experience, in some cases, email account users will

communicate directly with an email service Providers about issues relating to the account, such

as technical problems, billing inquiries, or complaints from other users. Email Providers

typically retain records about such communications, including records of contacts between the

user and the Providers' support services, as well as records of any actions taken by the Providers

or user as a result of the communications. In my training and experience, such information may

constitute evidence of the crimes under investigation because the information can be used to

identify the account's user or users.

       86.     As explained herein, information stored in connection with an email account may

provide crucial evidence of the "who, what, why, when, where, and how" of the criminal conduct

under investigation, thus enabling the United States to establish and prove each element or

alternatively, to exclude the innocent from further suspicion. In my training and experience, the

information stored in connection with an email account can indicate who has used or controlled

the account. This "user attribution" evidence is analogous to the search for "indicia of

occupancy" while executing a search warrant at a residence. For ~xample, email

communications, contacts lists, and images sent (and the data associated with the foregoing, such

as date and time) may indicate who used or controlled the account at a relevant time. Further,

                                                36
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 170 of 189




 information maintained by the email Providers can show how and when the account was

 accessed or used. For example, as described below, email Providers typically log the Internet

Protocol (IP) addresses from which users access the email account, along with the time and date

of that access. By determining the physical location associated with the logged IP addresses,

investigators can understand the chronological and geographic context of the email account

access and use relating to the crime under investigation. This geographic and timeline

information may tend to either inculpate or exculpate the account owner. Additionally,

information stored at the user's account may further indicate the geographic location of the

account user at a particular time (e.g., location information integrated into an image or video sent

via email). Last, stored electronic data may provide relevant insight into the email account

owner's state of mind as it relates to the offense under investigation. For example, information in

the email account may indicate the owner's motive and intent to commit a crime (e.g.,

communications relating to the crime), or consciousness of guilt (e.g., deleting communications
                                                          ~

in an effort to conceal them from law enforcement).

         87.      In my training and experience, information such as search history can help to

show the state of mind of an individual at the time the search was made, as well as the

individuals potential advance knowledge of events, as they search to see if the anticipated event

has occurred.

                   INFORMATION REGARDING APPLE ID AND iCLOUD 7




           The information in this section is based on information published by Apple on its website, including, but
not limited to, the following document and webpages: "U.S. Law Enforcement Legal Process Guidelines," available
at htip:/limages.apple.com/orivacy/docs/ legal-process-guiclelines-us.pd_f; "Create and start using an Apple ID,"
available at https://suppoct.app.Je.com/en-us/HT203993; "iCloud," available at http://www.apple.com/icloud/; "What
does iCloud back up?," available at https://support.aople.com/ kb/PH12519; "iOS Security," available at
                                                        37
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 171 of 189




         88.     Apple is a United States company that produces the iPhone, iPad, and iPod

Touch, all of which use the iOS operating system, and desktop and laptop computers based on

the Mac OS operating system.


         89.     Apple provides a variety of services that can be accessed from Apple devices or,

in some cases, other devices via web browsers or mobile and desktop applications ("apps"). As

described in further detail below, the services include email, instant messaging, and file storage:

                 a.       Apple provides email service to its users through email addresses at the

domain names mac.com, me.com, and icloud.com.

                 b.       iMessage and FaceTime allow users of Apple devices to communicate in

real-time. iMessage enables users of Apple devices to exchange instant messages ("iMessages")

containing text, photos, videos, locations, and contacts, while FaceTime enables those users to

conduct video calls.

                 c.       iCloud is a file hosting, storage, and sharing service provided by Apple.

iCloud can be utilized through numerous iCloud-connected services, and can also be used to

store iOS device backups and data associated with third-party apps.

                 d.       iCloud-connected services allow users to create, store, access, share, and

synchronize data on Apple devices or via icloud.com on any Internet-connected device. For

example, iCloud Mail enables a user to access Apple-provided email accounts on multiple Apple

devices and on icloud.com. iCloud Photo Library and My Photo Stream can be used to store and

manage images and videos taken from Apple devices, and iCloud Photo Sharing allows the user




https://www.apple.com/business/docs/iOS Security Guid.e. pdf, and "iCloud: How Can I Use iCloud?," available at
https: //support.apple.com/kb/PH26502.

                                                      38
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 172 of 189




to share those images and videos with other Apple subscribers. iCloud Drive can be used to

store presentations, spreadsheets, and other documents. iCloud Tabs and bookmarks enable

iCloud to be used to synchronize bookmarks and webpages opened in the Safari web browsers

on all of the user's Apple devices. iWork Apps, a suite of productivity apps (Pages, Numbers,

Keynote, and Notes), enables iCloud to be used to create, store, and share documents,

spreadsheets, and presentations. iCloud Keychain enables a user to keep website username and

passwords, credit card information, and Wi-Fi network information synchronized across multiple

Apple devices.

                 e.   Game Center, Apple's social gaming network, allows users of Apple

devices to play and share games with each other.

                 f.   Find My iPhone allows owners of Apple devices to remotely identify and

track the location of, display a message on, and wipe the contents of those devices. Find My

Friends allows owners of Apple devices to share locations.

                 g.   Location Services allows apps and websites to use information from

cellular, Wi-Fi, Global Positioning System ("GPS") networks, and Bluetooth, to determine a

user's approximate location.

                 h.   App Store and iTunes Store are used to purchase and download digital

content. iOS apps can be purchased and downloaded through App Store on iOS devices, or

through iTunes Store on desktop and laptop computers running either Microsoft Windows or

Mac OS. Additional digital content, including music, movies, and television shows, can be

purchased through iTunes Store on iOS devices and on desktop and laptop computers running

either Microsoft Windows or Mac OS.



                                               39
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 173 of 189




        90.     Apple services are accessed through the use of an "Apple ID," an account created

during the setup of an Apple device or through the iTunes or iCloud services. A single Apple ID

can be linked to multiple Apple services and devices, serving as a central authentication and

syncing mechanism.

        91.     An Apple ID takes the form of the full email address submitted by the user to

create the account; it can later be changed. Users can submit an Apple-provided email address

(often ending in@icloud.com, @me.com, or@mac.com) or an email address associated with a

third-party email provider (such as Gmail, Yahoo, or Hotmail). The Apple ID can be used to

access most Apple services (including iCloud, iMessage, and FaceTime) only after the user

accesses and responds to a "verification email" sent by Apple to that "primary" email address.

Additional email addresses ("alternate," "rescue," and "notification" email addresses) can also be

associated with an Apple ID by the user.

        92.    Apple captures information associated with the creation and use of an Apple ID.

During the creation of an Apple ID, the user must provide basic personal information including

the user's full name, physical address, and telephone numbers. The user may also provide means

of payment for products offered by Apple. The subscriber information and password associated

with an Apple ID can be changed by the user through the "My Apple ID" and "iForgot" pages on

Apple's website. In addition, Apple captures the date on which the account was created, the

length of service, records of log-in times and durations, the types of service utilized, the status of

the account (including whether the account is inactive or closed), the methods used to connect to

and utilize the account, the Internet Protocol address ("IP address") used to register and access

the account, and other log files that reflect usage of the account.



                                                  40
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 174 of 189




          93.   Additional information is captured by Apple in connection with the use of an

Apple ID to access certain services. For example, Apple maintains connection logs with IP

addresses that reflect a user's sign-on activity for Apple services such as iTunes Store and App

Store, iCloud, Game Center, and the My Apple ID and iForgot pages on Apple's website. Apple

also maintains records reflecting a user's app purchases from App Store and iTunes Store, "call

invitation logs" for FaceTime calls, "query logs" for iMessage, and "mail logs" for activity over

an Apple-provided email account. Records relating to the use of the Find My iPhone service,

including connection logs and requests to remotely lock or erase a device, are also maintained by

Apple.

          94.   Apple also maintains information about the devices associated with an Apple ID.

When a user activates or upgrades an iOS device, Apple captures and retains the user's IP

address and identifiers such as the Integrated Circuit Card ID number ("ICCID"), which is the

serial number of the device's SIM card. Similarly, the telephone number of a user's iPhone is

linked to an Apple ID when the user signs in to FaceTime or iMessage. Apple also may

maintain records of other device identifiers, including the Media Access Control address ("MAC

address"), the unique device identifier ("UDID"), and the serial number. In addition,

information about a user's computer is captured when iTunes is used on that computer to play

content associated with an Apple ID, and information about a user's web browser may be

captured when used to access services through icloud.com and apple.com. Apple also retains

records related to communications between users and Apple customer service, including

communications regarding a particular Apple device or service, and the repair history for a

device.



                                               41
  Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 175 of 189




        95.     Apple provides users with five gigabytes of free electronic space on iCloud, and

users can purchase additional storage space. That storage space, located oµ servers controlled by

Apple, may contain data associated with the use of iCloud-connected services, including: email

(iCloud Mail) ; images and videos (iCloud Photo Library, My Photo Stream, and iCloud Photo

Sharing); documents, spreadsheets, presentations, and other files (iWork and iCloud Drive); and

web browser settings and Wi-Fi network information (iCloud Tabs and iCloud Keychain).

iCloud can also be used to store iOS device backups, which can contain a user's photos and

videos, iMessages, Short Message Service ("SMS") and Multimedia Messaging Service

("MMS") messages, voicemail messages, call history, contacts, calendar events, reminders,

notes, app data and settings, Apple Watch backups, and other data. Records and data associated

with third-party apps may also be stored on iCloud; for example, the iOS app for WhatsApp, an

instant messaging service, can be configured to regularly back up a user's instant messages on

iCloud Drive. Some of this data is stored on Apple's servers in an encrypted form but can

nonetheless be decrypted by Apple.


       96.      In my training and experience, evidence of who was using an Apple ID and from

where, and evidence related to criminal activity of the kind described above, may be found in the

files and records described above. This evidence may establish the "who, what, why, when,

where, and how" of the criminal conduct under investigation, thus enabling the United States to

establish and prove each element or, alternatively, to exclude the innocent from further

suspicion.


             INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED




                                               42
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 176 of 189




        97.     I anticipate executing this warrant under the Electronic Communications Privacy

Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(l)(A) and 2703(c)(l)(A), by using the warrant

to require Google to disclose to the government copies of the records and other information

(including the content of communications) associated with the accounts in Attachment A, C, and

E and particularly described in Section I of Attachment B, D, and F. Upon receipt of the

information described in Section I of Attachments B, D, and F, government-authorized persons

will review that information to locate the items described in Section II of Attachment B, D, and

F. The items identified in Attachments A-F will also be screened by reviewers not on the

prosecution team to identify and filter out privileged material.

                                          CONCLUSION

       98.     Based on the forgoing, I request that the Court issue the proposed search warrant.

       99.     Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant.

                                   REQUEST FOR SEALING

       100.    I further request that the Court order that all papers in support of this application,

including the affidavit and search warrant, be sealed until further order of the Court. These

documents discuss an ongoing criminal investigation, the full nature and extent of which is not

known to all of the targets of the investigation. Accordingly, there is good cause to seal these

documents because their premature disclosure may seriously jeopardize that investigation.

                                                      Respe~


                                                      Andrew Mitchell
                                                      Special Agent
                                                      Federal Bureau of Investigation

                                                 43
  Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 177 of 189




Subscribed and sworn lo before me on this   1f {       of Augus~ 2018.

                                                   /                     $
                                              /711 !l l(,t1Lt
                                    The Honorable Beryl A. Howell
                                    Chief United States District Judge




                                              44
  Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 178 of 189




                                      ATTACHMENT A

                                   Property to be Searched

       This warrant applies to information associated with the email address:




created or maintained between September 11, 2017 and present, that is stored at premises owned,

maintained, controlled, or operated by Microsoft Corp., d/b/a Hotmail, a company headquartered

at One Microsoft Way, Redmond, WA 98052.




                                              45
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 179 of 189




                                        ATTACHMENT B

                                   Particular Things to be Seized

    I.       Files and Accounts to be produced by the Provider:


    To the extent that the information described in Attachment A is within the possession,
custody, or control of the Provider including any messages, records, files, logs, images, videos,
or information that have been deleted but are still available to the Provider or have been
preserved pursuant to a preservation request under 18 U.S.C. § 2703(f), the Provider is required
to disclose the following information to the government for each account or identifier listed in
Attachment A:

   a. The contents of all e-mails, attachments and chat messages stored in the account,
      including copies of e-mails sent to and from the account, draft e-mails, the source and
      destination e-mails sent addresses associated with each e-mail, the date and time at which
      each e-mail was sent, and the size and length of each e-mail;

   b. All existing printouts from original storage of all of the electronic mail described above
      in Section I.A. above;

   c. All internet search data including all queries and location data;

   d. All transactional information of all activity of the account described above in Section I.A,
      including log files, dates, times, methods of connecting, ports, dial ups, and/or locations;

   e. All records or other information stored by an individual using the account, including
      address books, contact and buddy lists, calendar data, pictures, and files;

   f.    Records or other information regarding the identification of the account described above
         in Section LA, to include application, full name, physical address, telephone numbers and
         other identifiers, records of session times and durations, log-in IP addresses associated
         with session times and dates, account status, alternative e-mail addresses provided during
         registration, all screen names associated with subscribers and/or accounts, all account
         names associated with the subscriber,

   g. All records indicating the services available to subscribers of the electronic mail address
      described above in Section LA.;




                                                 46
  Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 180 of 189




II.          Information to be Seized by Law Enforcement Personnel

        Any and all records that relate in any way to the accounts described in Attachment A
which consists of evidence, fruits, or instrumentalities of violations of 18 U.S.C. § 2 (aiding and
abetting), 18 U.S.C. § 3 (accessory after the fact), 18 U.S.C. § 4 (misprision of a felony), 18
U.S.C. § 371 (conspiracy), 18 U.S.C. § 1001 (false statements), 18 U.S.C. § 1030 (unauthorized
access of a protected computer); 18 U.S.C. §§ 1505 and 1512 (obstruction of justice), 18 U.S.C.
§ 1513 (witness tampering); 18 U.S.C. § 1343 (wire fraud), 18 U.S.C. § 1349 (attempt and
conspiracy to commit wire fraud), and 52 U.S.C. § 30121 (foreign contribution ban) from June 1,
2015 to present, including:

      a. All records, information, documents or tangible materials that relate in any way to
      communications regarding hacking, release of hacked material, communications with
      persons or entities associated with WikiLeaks, including but not limited to Julian Assange, or
      communications regarding disinformation, denial, dissembling or other obfuscation about
      knowledge of, or access to hacked material;

      b. All records, information, documents or tangible materials that relate in any way to
      communications or meetings involving Jerome Corsi,                         Julian Assange,
                                                      Randy Credico, or any individual
      associated with the Trump Campaign;

      c. All images, messages, communications, calendar entries, search terms, "address book"
      entries and contacts, including any and all preparatory steps taken in furtherance of the
      above-listed offenses;

      d. Communication, information, documentation and records relating to who created, used, or
      communicated with the account or identifier concerning the messages identified above,
      including records about their identities and whereabouts;

      e. Evidence of the times the account was used;

      f.   All images, messages and communications regarding wiping software, encryption or
           other methods to avoid detection by law enforcement;

      g. Passwords and encryption keys, and other access information that may be necessary to
         access the account and other associated accounts;

      h. Credit card and other financial information, including but not limited to, bills and
         payment records evidencing ownership of the subject account;


                                                  47
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 181 of 189




 i.   All existing printouts from original storage which concern the categories identified in
      subsection II.a




                                             48
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 182 of 189




                                      ATTACHMENT C

                                    Property to be Searched

       This warrant applies to information associated with the following Google account:




created or maintained between October 17, 2017 and the present, that is stored.at premises

owned, maintained, controlled, or operated by Google, Inc., a business with offices located at

1600 Amphitheatre Parkway, Mountain View, CA 94043.




                                               49
  Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 183 of 189




                                       ATTACHMENT D

                                  Particular Things to be Seized

   I.       Files and Accounts to be produced by Google, Inc.

        To the extent that the information described in Attachment C is within the possession,
custody, or control of Google, Inc. including any messages, records, files, logs, images, videos,
or information that have been deleted but are still available to Google or have been preserved
pursuant to a preservation request under 18 U.S.C. § 2703(£), Google is required to disclose the
following information to the government for each account or identifier listed in Attachment C:

   a. The contents of all e-mails, attachments and chat messages stored in the account,
      including copies of e-mails sent to and from the account, draft e-mails, the source and
      destination e-mails sent addresses associated with each e-mail, the date and time at which
      each e-mail was sent, and the size and length of each e-mail;

               b.     All existing printouts from original storage of all of the electronic mail
        described above in Section LA. above;

               c.      All internet search data including all queries and location data;

                d.     All transactional information of all activity of the account described above
        in Section LA, including log files, dates, times, methods of connecting, ports, dial ups,
        and/or locations;

               e.      All records or other information stored by an individual using the account,
        including address books, contact and buddy lists, calendar data, pictures, and files;

                f.     All records or other information regarding the identification of the account
        described above in Section I.A, to include application, full name, physical address,
        telephone numbers and other identifiers, records of session times and durations, the date
        on which the account was created, the length of service, the types of service utilized, the
        IP address used to register the account, log-in IP addresses associated with session times
        and dates, account status, alternative e-mail addresses provided during registration, all
        screen names associated with subscribers and/or accounts, all account names associated
        with the subscriber, methods of connecting, log files, means and source of payment
        (including any credit or bank account number), and detailed billing records;

                g.     All records indicating the services available to subscribers of the
        electronic mail address described above in Section LA.;

                h.   Google+ subscriber information, circle information, including name of
        circle and members, contents of posts, comments, and photos, to include date and
        timestamp;

                                                50
Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 184 of 189




          1.      Google Drive files created, accessed or owned by the account;

         J.      YouTube subscriber information, private videos and files, private
   messages, and comments;

          k.      Google+ Photos contents to include all images, videos and other files, and
   associated upload/download date and timestamp;

          1.      Google Talk and Google Hangouts conversation logs associated with the
   account.




                                          51
  Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 185 of 189




    II.       Information to be Seized by Law Enforcement Personnel

Any and all records that relate in any way to the accounts described in Attachment C which
consists of evidence, fruits, or instrumentalities of violations of 18 U.S.C. § 2 (aiding and
abetting), 18 U.S.C. § 3 (accessory after the fact), 18 U.S.C. § 4 (misprision of a felony), 18
U.S.C. § 371 (conspiracy), 18 U.S.C. § 1001 (false statements), 18 U.S.C. § 1030 (unauthorized
access of a protected computer); 18 U.S.C. §§ 1505 and 1512 (obstruction of justice), 18 U.S.C.
§ 1513 (witness tampering); 18 U.S.C. § 1343 (wire fraud), 18 U.S.C. § 1349 (attempt and
conspiracy to commit wire fraud), and 52 U.S.C. § 30121 (foreign contribution ban), from June
1, 2015 to present, including:

   a. All records, information, documents or tangible materials that relate in any way to
   communications regarding hacking, release of hacked material, communications with
   persons or entities associated with WikiLeaks, including but not limited to Julian Assange, or
   communications regarding disinformation, denial, dissembling or other obfuscation about
   knowledge of, or access to hacked material;

   b. All records, information, documents or tangible materials that relate in any way to
   communications or meetings involving Jerome Corsi,                         Julian Assange,
                                                   Randy Credico, or any individual
   associated with the Trump Campaign;

   c. All images, messages, communications, calendar entries, search terms, "address book"
   entries and contacts, including any and all preparatory steps taken in furtherance of the
   above-listed offenses;

   d. Communication, information, documentation and records relating to who created, used, or
   communicated with the account or identifier concerning the messages identified above,
   including records about their identities and whereabouts;

   e. Evidence of the times the account was used;

   f.     All images, messages and communications regarding wiping software, encryption or
          other methods to avoid detection by law enforcement;

   g. Passwords and encryption keys, and other access information that may be necessary to
      access the account and other associated accounts;

   h. Credit card and other financial information, including but not limited to, bills and
      payment records evidencing ownership of the subject account;

   1.     All existing printouts from original storage which concern the categories identified in
          subsection II.a

                                                   52
  Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 186 of 189




                                     ATTACHMENT E

                                   Property to be Searched

       This warrant applies to information associated with the following Apple DSID:




created or maintained between March 14, 2018 and the present, that is stored at premises owned,

maintained, controlled, or operated by Apple, Inc., located at One Apple Park Way, Cupertino,

California 95014.




                                              53
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 187 of 189




                                        ATACHMENTF

                                 Particular Things to be Seized

    I.      Files and Accounts to be produced by the Provider:

        To the extent that the information described in Attachment Eis within the possession,
custody, or control of Apple, regardless of whether such information is located within or outside
ofthe United States, including any messages, records, files, logs, or infonnation that have been
deleted but are still available to Apple, or have been preserved pursuant to a request made under
18 U.S.C. § 2703(f), Apple is required to disclose the following information to the government,
in unencrypted form whenever available, for each account or identifier listed in Attachment E:

        a.      All records or other information regarding th~ identification of the account, to
include full name, physical address, telephone numbers, email addresses (including primary,
alternate, rescue, and notification email addresses, and verification information for each email
address), the date on which the account was created, the length of service, the IP address used to
register the account, account status, associated devices, methods of connecting, and means and
source of payment (including any credit or bank account numbers);

        b.     All records or other information regarding the devices associated with, or used in
connection with, the account (including all current and past trusted or authorized iOS devices
and computers, and any devices used to access Apple services), including serial numbers, Unique
Device Identifiers ("UDID"), Advertising Identifiers ("IDFA"), Global Unique Identifiers
("GUID"), Media Access Control ("MAC") addresses, Integrated Circuit Card ID numbers
("ICCID"), Electronic Serial Numbers ("ESN"), Mobile Electronic Identity Numbers ("MEIN"),
Mobile Equipment Identifiers ("MEID"), Mobile Identification Numbers ("MIN"), Subscriber
Identity Modules ("SIM"), Mobile Subscriber Integrated Services Digital Network Numbers
("MSISDN"), International Mobile Subscriber Identities ("IMSI"), and International Mobile
Station Equipment Identities ("IMEI");

         c.    The contents of all emails associated with the account, including stored or
preserved copies of emails sent to and from the account (including all draft emails and deleted
emails), the source and destination addresses associated with each email, the date and time at
which each email was sent, the size and length of each email, and the true and accurate header
information including the actual IP addresses of the sender and the recipient of the emails, and
all attachments;

        d.      The contents of all instant messages associated with the account, including stored
or preserved copies of instant messages (including iMessages, SMS messages, and MMS
messages) sent to and from the account (including all draft and deleted messages), the source and
destination account or phone number associated with each instant message, the date and time at
which each instant message was sent, the size and length of each instant message, the actual IP
addresses of the sender and the recipient of each instant message, and the media, if any, attached
to each instant message;

                                                54
   Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 188 of 189




        e.     The contents of all files and other records stored on iCloud, including all iOS
device backups, all Apple and third-party app data, all files and other records related to iCloud
Mail, iCloud Photo Sharing, My Photo Stream, iCloud Photo Library, iCloud Drive, iWork
(including Pages, Numbers, Keynote, and Notes), iCloud Tabs and bookmarks, and iCloud
Keychain, and all address books, contact and buddy lists, notes, reminders, calendar entries,
images, videos, voicemails, device settings, and bookmarks;

        f.      All activity, connection, and transactional logs for the account (with associated IP
addresses including source port numbers), including FaceTime call invitation logs, messaging
and query logs (including iMessage, SMS, and MMS messages), mail logs, iCloud logs, iTunes
Store and App Store logs (including purchases, downloads, and updates of Apple and third-party
apps), My Apple ID and iForgot logs, sign-on logs for all Apple services, Game Center logs,
Find My iPhone and Find My Friends logs, Jogs associated with web-based access of Apple
services (including all associated identifiers), and logs associated with iOS device purchase,
activation, and upgrades;

        g.     All records and information regarding locations where the account or devices
associated with the account were accessed, including all data stored in connection with Location
Services, Find My iPhone, Find My Friends, and Apple Maps;

        h.     All records pertaining to the types of service used;

       i.      All records pertaining to communications between Apple and any person
regarding the account, including contacts with support services and records of actions taken; and

        j.        All files, keys, or other information necessary to decrypt any data produced in an
encrypted form, when available to Apple (including, but not limited to, the keybag.txt and
fileinfolist.txt files).




                                                 55
  Case 1:19-mc-00029-CRC Document 29-13 Filed 04/28/20 Page 189 of 189




II.        Information to be Seized by Law Enforcement Personnel

    Any and all records that relate in any way to the accounts described in Attachment A which
consists of evidence, fruits, or instrumentalities of violations of 18 U.S.C. § 2 (aiding and
abetting), 18 U.S.C. § 3 (accessory after the fact), 18 U.S.C. § 4 (misprision of a felony), 18
U.S.C. § 371 (conspiracy), 18 U.S.C. § 1001 (false statements), 18 U.S.C. § 1030 (unauthorized
access of a protected computer); 18 U.S.C. §§ 1505 and 1512 (obstruction ofjustice), 18 U.S.C.
§ 1513 (witness tampering); 18 U.S.C. § 1343 (wire fraud), 18 U.S.C. § 1349 (attempt and
conspiracy to commit wire fraud), and 52 U.S.C. § 30121 (foreign contribution ban), from June
I, 2015 to present, including:

      a. All records, information, documents or tangible materials that relate in any way to
      communications regarding hacking, release of hacked material, communications with
      persons or entities associated with WikiLeaks, including but not limited to Julian Assange, or
      communications regarding disinformation, denial, dissembling or other obfuscation about
      knowledge of, or access to hacked material;

      b. All records, information, documents or tangible materials that relate in any way to
      communications or meetings involving Jerome Corsi,                         Julian Assange,
                                                      Randy Credico, or any individual
      associated with the Trump Campaign;

      c. All images, messages, communications, calendar entries, search terms, "address book"
      entries and contacts, including any and all preparatory steps taken in furtherance of the
      above-listed offenses;

      d. Communication, information, documentation and records relating to who created, used, or
      communicated with the account or identifier concerning the messages identified above,
      including records about their identities and whereabouts;

      e. Evidence of the times the account was used;

      f.   All images, messages and communications regarding wiping software, encryption or
           other methods to avoid detection by law enforcement;

      g. Passwords and encryption keys, and other access information that may be necessary to
         access the account and other associated accounts;

      h. Credit card and other financial information, including but not limited to, bills and
         payment records evidencing ownership of the subject account;

      1.   All existing printouts from original storage which concern the categories identified in
           subsection II.a

                                                   56
